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                         IN FEDERAL DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA




Eric Smith
      Petitioner               Case#


                               COMPLAINT/TEMPORARY AND
                               PERMANENT INJUNCTION REQUEST
City Of Yankton
State of South Dakota
First Judicial Circuit Court
County Of Yankton
           Respondents

   1. The Petitioner comes before this Court to state that on Thursday
      September       of 2023 that the Yankton Police Department in
      Yankton County South Dakota approached the Petitioner in
      regards to having Trump Flags in the Public Right of way off of
      highway 81 by TSC in Yankton, SD. The Petitioner was informed
      that he would be cited and was cited for Content neutral
      prohibited,

   2. Petitioner was also arrested for Obstruction for not giving the
      officers the Political Flags for "EVIDENCE OF A CRIME". The
      Petitioner was also charged with resisting even when plaintiff told
      him he was not resisting. Petitioners fiancee who has a Traumatic
      Brain Injury was Highly Traumatized and unable to drive. She was
      left for dead along with her six-year-old daughter by Yankton, PD.


   3. The crime the Petitioner was charged with before being arrested
     for obstruction and resisting arrest is as set out below

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      Sec. 27-78. - Content neutral prohibitions.
      Signs shall not be erected or maintained in the following manner in the city
      unless otherwise specifically provided for in this chapter:
      (1)
      No sign or sign structure shall resemble, imitate, simulate, or conflict with
      traffic control signs or devices which are found within the Manual of
      Uniform Traffic Control Devices.
      (2)
      No sign or sign structure shall mislead or confuse persons traveling on
      public streets if a traffic hazard is caused thereby.
      Signs shall not be erected or maintained in the following locations in the
      city:
      (1)
      No sign shall be placed in any location which creates a safety hazard by
      obstructing the clear view of pedestrians or vehicles.
      (2)
      No sign shall be placed in any location which obscures a government sign or
      signal.
      (3)
      No sign or sign structure shall be placed in any location which obstructs any
      required egress from a building or structure.
      (4)
      No sien shall be attached to organic or inorganic natural matter(such
      as a tree), utility nole, nublic bench, street light, or a street sign. This is
      Unconstitutional. This means no Sign even political can be placed in the
      soil even if it is on vour own nrone
      (5)
      No sign shall be nlaced on any public nronertv or public right-of-way.
       6) I had flags nlaced in a public right of way that were political. This
      tramples on the first amendment rights of myself and the public to
       enioin in Political Free Speech and to have public discourse and
       conversations. The right to assemble and petition as well. I cannot voice
       a opinion either bv having temporary flags. This would be censorshi
       Trailer or vehicle signs which are parked or located for the prima
       of disnlaving the sign are prohibited. This would also be unconstitutional.
       Especially if the sign was political. Especially if the sign was in a persons
       driveway on a trailer for the purposes of display. That would also be a first
       amendment issue as well.


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       (Ord. No.956,§ 8,6-10-13)

        Note: They also moved up the Charge to a misdemeanor with as follows
        imder their city code.


   . Sec. 27-84. - Criminal penalty.

        Any person who violates this article shall be guilty of a
        misdemeanor. The maximum penalty for each violation shall
        be five hundred dollars ($500.00). Each violation shall be a
        separate offense.

       (Ord. No.956,§14,6-10-13)



        Note; Also the city has another code in which they MAY
        regulate Flags. Yes flags. Even political.



 Sec. 27-74. - Sign permitting.



 General rule. In order to erect, to alter, or to relocate a sign an owner or licensed sign
 contractor must first obtain a sign permit from the city. A sign permit may authorize the
 erection of one (1) or more signs.




 Exceptions. The following signs do not require a permit but may be regulated by this chapter:



 A-frame, T-frame and sandwich board sign.




 Banner signs.


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Construction contractor's sign.




 Fan/booster sign.




 Flags. - Clearly Unconstitutional. Even if in vour own yard. This
 would tie into the no flass In oreanic soil. It would also tie into no
flags on any tvoe of matter. Tree etc. Purely Absurd.



 Identification signs.




 incidental signs.




 Government signs.




 Gas pump topper sign.




 All signs excluded from the definition of "sign."




 Ordinary maintenance and repairs of any sign.




 Temporary signs.




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   4. The case law is very clear in Reed V Gilbert 2015 US Supreme
      Court that temporary flags are political free speech and a form of
      expression. This above appears to be a clear first amendment
      Violation. Also, there are many US Supreme Court Cases that
      protect political free speech and opinion exercising as well as
      political assembly and the right of the public to enjoin in political
      free speech. The City and State of South Dakota has turned this
      into a crime in order to censor conservatives all because they do
       not like a certain candidate.



   This very Court Clearly would find this a First Amendment Violation.
 The Petitioner asks that the Federal District Court follow the Precedent
     that it set in its Decision made on June, 22""^ of 2023 this year in
     Dakotans For Health V. Ewing Case # No. 5:23-CV-05042-RAL

    5. This case is within the same realm. The case below discusses
       Political Activities, Public Areas. Based on this Case and many
       more,the Plaintiff hereby asks for this Court to issue a temporary
       a permanent injunction ordering that the State of South Dakota
       Drop All criminal charges and that ^^tllG Court isSUG rGlisf
       in all possible forms possible" by preventing the state
       Circuit Court from Moving Forward. The Petitioner asks the State
       Circuit Court for a Temporary Injunction and a Permanent
       Injunction. The Petitioner also asks that the Court set a hearing
       for a Permanent Injunction shall it deny the temporary injunction.


    6. Included below are the following cases. Reed V Gilbert 2015 US
       Supreme Court.


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    7. Also, included below is Bible Watchtower Society V. Village of
       Stratton 2002 US Supreme Court


    8. "Wherefore", Petitioner hereby asks for a hearing on whether a
       permanent injunction shall issue and asks this court to issue a
       temporary injunction.


 DAKOTANS FOR HEALTH,RICK WEILAND,ADAM WEILAND,Plaintiffs,
                                               V.

   BOB EWING,IN OFFICIAL CAPACITY; BRANDON FLANAGAN,IN
   OFFICIAL CAPACITY; RANDY DEIBERT,IN OFFICIAL CAPACITY;
    RICHARD SLEEP,IN OFFICIAL CAPACITY;ERIC JENNINGS,IN
 OFFICIAL CAPACITY;AND LAWRENCE COUNTY COMMISSIONERS,IN
                OFFICIAL CAPACITY; Defendants.

                                   No. 5:23-CV-05042-RAL.


              United States District Court,D. South Dakota,Western Division.

                                         June 22, 2023.


 OPINION AND TEMPORARY RESTRAINING ORDER

 ROBERTO A. LANGE,Chief District Judge.

 Plaintiffs Dakotans for Health, Rick Weiland, and Adam Weiland (Plaintiffs) have asked this
 Court to immediately restrain Lawrence Coimty Commissioners from enforcing or threatening to
 enforce a Lawrence County Policy restricting ballot petition circulators to a designated area
 outside Lawrence Cotmty government buildings in Deadwood, South Dakota. The First
 Amendment to the United States Constitution, made applicable to South Dakota through the
 Fourteenth Amendment,prohibits the government from making laws that "abridge the freedom
 ofspeech, or ofthe press; or the right of people peaceably to assemble, and to petition the
 Government for a redress of grievances." U.S. Const. Amend. I. For the reasons discussed below,
 this Court grants to a limited extent Plaintiffs' motion for a temporary restraining order.

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I. Background
On Tuesday, June 20,2023,1^ Plaintiffs sued Defendants Lawrence County Commissioners Bob
Ewing, Brandon Flanagan, Randy Deibert, Richard Sleep, and Eric Jennings (collectively
Defendants or Lawrence Cormty Commissioners) in their official capacities as Lawrence County
Commissioners seeking a temporary restraining order, preliminary and permanent injunctive
relief, attorney's fees and costs, and invoking federal jurisdiction under 42 U.S.C. § 1983 and 28
U.S.C. §§ 1331,1343(3). Doc. 1. The Complaint pleads one cause of action (entitled
"Unconstitutional Restriction of Core Political Speech") asking this Court to declare the
Lawrence County Political Activity Policy (the Policy) an unconstitutional restriction on
Plaintiffs' right to engage in core political speech. Id. at 22-29. Plaintiffs' Motion for
Temporary Restraining Order, Doc. 2,four supporting declarations. Docs. 3-6, and brief in
support oftheir motion. Doc. 7, request an order under Federal Rule of Civil Procedure 65(b)
immediately restraining Defendants from enforcing or threatening to enforce the Policy and
waiving any bond requirement.

As this Court remarked recently in a case with identical Plaintiffs and similar legal issues, on an
ex parte motion for temporary restraining order under Rule 65(b), a court should be cautious not
to make any factual conclusions. See Dakotans for Health v. Anderson, 4:23-CV-04075-RAL,
Doc. 10 at 2. Although the facts here differ from those in Dakotans for Health v. Anderson,the
issues and analysis are similar.

Plaintiff Dakotans for Health is a South Dakota ballot question committee. Plaintiff Rick
Weiland is its chair, and Plaintiff Adam Weiland works for the entity and helps manage it. Doc. 1
nil 1-4. Plaintiffs drafted and are involved in circulating petitions to place measures on the
November 2024 ballot in South Dakota that, as they put it, "would allow the people of South
Dakota to choose to restore their Roe v. Wade rights, and to eliminate the state sales tax on
food." Doc. 1II9. Plaintiffs employ volunteer and paid circulators to circulate their petitions and
obtain signatures from registered voters to qualify the measures for the ballot. Id. T| 10. This
lawsuit concerns Plaintiffs' petition circulation activities aroimd Lawrence County government
buildings located in the county seat of Deadwood, South Dakota. Id.f 14. Deadwood—famous
for its history as a gold mining settlement in the nineteenth century and scenic location in the
Black Hills—is heavily trafficked by tourists each year and is the situs of many government
services for the broader Lawrence County population of approximately 27,000 people.

According to Plaintiffs, the Lawrence County Courthouse and Administrative Annex buildings
(referred to as "the Lawrence Coimty Campus" or "the Campus")in Deadwood have historically
 been where their circulators station themselves to engage with potential petition signers and
 discuss political issues. Doc. 3^7; Doc.4^12. The Campus (specifically the Annex building)
 houses fre offices ofthe County Treasurer, Auditor, Commissioners, Public Assistance,
 Equalization, Planning and Zoning, Register of Deeds, Computer Department, State's Attorney,
 and Public Defender. Doc. I f 17. Plaintiffs view the Campus as an ideal place to collect
 signatures because "[mjore voters use the [Lawrence County Campus]than any other public
 building in Lawrence County." Doc. 1 Tn| 12-13. Plaintiffs' lawsuit maintains that while the
 Lawrence County Campus is an "excellent location[] at which to collect signatures to place an
 initiated measures the ballot," the Lawrence County Commission adopted a resolution on March

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10,2020, restricting where petition circulators are allowed on the Campus that unconstitutionally
interferes with their political activities there. Doc. 1 13, 24.

Resolution #2020-09(attached to the Complaint as Exhibit 1)contains the challenged Policy and
its justification. Doc. 1-1 at 1-2. The justification section of the Policy reads:

The Lawrence County Commission has approved the following political activity policy. All
petition circulators shall abide by the policy while circulating petitions on the Lawrence County
campus.

Lawrence Coimty buildings are public facilities that exist to accommodate the business ofthe
county govermnent and the courts. In an effort to preserve public safety and provide citizens the
opportunity to conduct business without unnecessary disruption or inconvenience, circulators of
petitions may use the specifically designated area at the selected facility on the Lawrence County
Campus to gather signatures.

Id. at 1. The Policy goes on to define "designated areas" where signature gathering is permitted
on the Campus: petition circulation is permitted inside neither the Lawrence County Aimex
building nor the Lawrence County Courthouse and is limited to the outdoor "plaza area" between
those two buildings. Id. at 1. The Policy goes on to provide a Code of Conduct for petition
 circulators:


Petition Circulators are notified:


 «&;fi:arr; A circulator may approach persons for the purpose of politely asking for a petition
 signature, provided the circulator is within the prescribed area referenced in this Policy;
 &fi:arr; A circulator may engage in discussion, but shall not verbally or physically harass,
 threaten or intimidate any person for any reason;
 &fi-arr; A circulator shall respect the right of a person to decline to sign a petition;
 &fi-arr; A circulator shall not at any time prevent or interfere with ingress/egress ofany person to
 or fi-om a County building; and
 &fi-arr; A circulator may not use any County equipment, supplies or services when gathering
 Signatures
 **Failure to abide by the terms ofthe above described Code of Conduct shall result in the
 circulator being asked to leave the Coimty premises. Further, failure to abide by the terms ofthe
 Code of Conduct may result in removal and/or arrest by law enforcement

 Id. at 2.

 According to the Plaintiffs, the Policy prohibits petition circulation in and on all sidewalks in
 fi-ont of the Administrative Annex building, which houses numerous public services, and restricts
 circulators to "one small, out-of-the-way area." Doc. 1 Tf 24. They say the designated area
 isolates petition circulators fi-om the parking lots to the west and south ofthe Annex building,
 away fi-om sidewalks where "almost everyone enters and leaves the Administrative Annex
 Building." Doc.7 at 5. Leah Bothamley, a petition circulator for Dakotans for Health, avers in

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her declaration, Doc. 5, that on June 12,2023, she was standing on the sidewalk in front of the
Aimex building when a woman who appeared to be a county employee approached her and
handed her a copy ofthe Policy; Bothamley then moved to the designated area, where it was
"obvious to [her] that this would be a much poorer location from which to attempt to obtain
petition signatures." Doe.5 ^ 2-5. In Plaintiffs' view. Defendants' Policy restricting their petition
circulators to the outdoor plaza in between the two buildings on the Campus makes them
significantly less effective at gathering signatures and unconstitutionally infnnges on their First
Amendment rights. Doc.4^ 12; Doc. 7 at 14.

Plaintiffs' Complaint attached a screenshot from Google Maps ofthe area ofthe entrance
commonly used by the public to enter the Administrative Annex building. Doc. 1-4. This Court,
rather than relying on this single image and to better educate itself on the physical characteristics
ofthe area around the Lawrence County Campus, used Google Maps to view its depietion ofthe
entire Campus. This Court ultimately will want input from the parties on whether Google Map
images are sufficiently reliable to use in place of personally viewing the premises but wants to be
transparent with the parties on information this Court has accessed in ruling on the motion for
temporary restraining order. The images show that the County Campus is surrounded by what
appears to be a wraparound public sidewalk that lies parallel and perpendicular to Center Street,
Sherman Street, and Pine Street. The sidewalk appears to provide access not only to the County
Campus buildings, the outdoor plaza, and what Plaintiffs say is the most used south entrance to
the Annex building, but also to a parking lot and parking garage where this Court assumes the
publie may park to access the Campus or downtown Deadwood in general. Defendants' Policy
thus appears to remove public sidewalks from petition circulation activity and confine that
activity to the outdoor plaza. The outdoor plaza looks to be a nice area for a gathering or group
protest, but removes petition circulators from where they would or could approach pedestrians on
public sidewalks adjacent to county buildings. The policy on initial blush appears to be overly
restrictive and prevents petition circulators from peacefully exercising their First Amendment
rights to which they are entitled on publie or traditionally public forums around this kind of
 government property.


II. Legal Standard
 Rule 65 of the Federal Rules of Civil Procedure provides as follows:

(b)Temporary Restraining Order.
(1)Issuing Without Notice. The court may issue a temporary restraining order without written or
 oral notice to the adverse party or its attorney only if:
(A)specific facts in an affidavit or a verified complaint clearly show that immediate and
irreparable injury, loss, or damage will result to the movant before the adverse party can be heard
 in opposition; and
(B)the movant's attorney certifies in writing any efforts made to give notice and the reasons why
 it should not be required.
(2) Contents; Expiration. Every temporary restraining order issued without notice must state the
 date and hour it was issued; describe the injury and state why it is irreparable; state why the order

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 was issued without notice; and be promptly filed in the clerk's office and entered in the record.
 The order expires at the time after entry—^not to exceed 14 days—that the court sets, unless
 before that time the court, for good cause, extends it for a like period or the adverse party
 consents to a longer extension. The reasons for an extension must be entered in the record.
 (3)Expediting the Preliminary-Injunction Hearing. If the order is issued without notice, the
 motion for a preliminary injunction must be set for hearing at the earliest possible time, taking
 precedence over all other matters except hearings on older matters ofthe same character. At the
 hearing, the party who obtained the order must proceed with the motion; if the party does not, the
 court must dissolve the order.

 (4)Motion to Dissolve. On 2 days' notice to the party who obtained the order without notice—or
 on shorter notice set by the court—^the adverse party may appear and move to dissolve or modify
 the order. The court must then hear and decide the motion as promptly as justice requires.

 "A district court considering injunctive relief evaluates [a] the movant's likelihood of success on
 the merits,[b] the threat of irreparable harm to the movant,[c] the balance ofthe equities
 between the parties, and [d] whether an injunction is in the public interest." Powell v. Rvan. 855
 F.3d 899. 902 fSth Cir. 20171(citing Dataphase Svs.. Inc. v. C L Svs.. Inc.. 640 F.2d 109.114
 (8th Cir. 19811(en bancll. "No single factor is dispositive, as the district court must balance all
 factors to determine whether the injunction should issue. However,in deciding whether to grant
 a preliminary injimction, likelihood of success on the merits is most significant." Turtle Island
 Foods. SPC V. Thompson. 992 F.3d 694. 699(8th Cir. 2021)(cleaned up and citations omitted).

  The focus in considering a temporary restraining order is whether the moving party "clearly
  show[s] that immediate and irreparable injury, loss or damage will result to the movant before
  the adverse party can be heard in opposition." Fed. R. Civ. P. 65(b)(1)(A). Although the
  Dataphase factors do not apply under the language ofthe rule to the decision to grant a
  temporary restraining order, this Court will consider each Dataphase factor here, with a particular
  focus on the first and second factors.


  III. Discussion

  A.The movant's likelihood of success on the merits

  The First Amendment prohibits the government from "abridging the freedom ofspeech... and to
  petition the Government." U.S. Const, amend. I. Thomas Jefferson, whose face adorns a
  mountainside not far from Deadwood,recognized that "public discussion is a political duty" and
  a "fundamental principle of the American government." Whitnev v. California. 274 U.S. 357.
  375(1927)(Brandeis. J.. concurring). That principle, enshrined in the First Amendment and
  valued by South Dakota since 1898 when it became the first state to give ordinary citizens the
  power to initiate laws through the popular vote, protects the right of petition circulators to
  reasonably engage in public discussion outside of government buildings.

  The First Amendment's protection is "at its zenith" when "core political speech" like petition
  circulation is involved. U.S. Const, amend. I; Bucklev v. Am. Const. L. Found.. 525 U.S. 182.
  186-87(1999)(cleaned up and citation omitted)). The question here is how this protection
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  applies when the petition circulation occurs on or adjacent to government property, here on or
  adjacent to the Lawrence County Campus. Like a private property owner,the government "has
  the power to preserve the property under its control for the use to which it is lawfully dedicated."
  United States v. Grace. 461 U.S. 171.178 11983)(cleaned up and citation omitted). The First
  Amendment does not require the government to "freely ... grant access to all who wish to
  exercise their right to free speech on every type of Government property without regard to the
  nature ofthe property or to the disruption that might be caused by the speaker's activities."
  Cornelius v. NAACP Legal Def. & Educ. Fund. Inc.. 473 U.S. 788. 799-800 119851. Instead, the
  government's ability to limit free speech on its property depends on the "nature ofthe forum" in
  which the free speech occurs. Id. at 800; Ball v. Citv of Lincoln. 870 F.3d 722. 729(8th Cir
  20171.


  The government's authority to limit speech is at its lowest in traditional public forums like public
  streets, parks, and sidewalks. See Grace. 461 U.S. at 177(noting that "streets, sidewalks, and
  parks, are considered, without more,to be public forums" and that government authority to
  restrict speech in these areas "is very limited")(cleaned up and citation omitted)); Schenck v.
  ProChoice Network of W.N.Y.. 519 U.S. 357. 377(19971 ("[Sjpeech in public areas is at its most
  protected on public sidewalks, a prototypical example of a traditional public forum."). The
  government may impose reasonable time, place, and manner restrictions in public forums, but
  only if those restrictions are content neutral,^!"narrowly tailored to serve a significant
  governmental interest," and "leave open ample alternative chaimels for communication ofthe
  information." Ward v. Rock Against Racism. 491 U.S. 781. 791 ("19891 (cleaned up and citation
  omitted). This same test applies to designated public forums, which are created when the
  government "intentionally open[s] a nontraditional forum for public discourse." Comelius.473
  U.S. at 802: Pleasant Grove Citv v. Summum.555 U.S. 460. 469-70(20091 (explaining that the
  same standard govems restrictions on speech in public forums and designated public forums).

  The government has more leeway to regulate speech in nonpublic forums, meaning "government
  property that is not by tradition or designation a forum for expressive activities by the public."
  Ball V. Citv of Lincoln. 870 F.3d 722. 730 CSth Cir. 20171(cleaned up and citation omitted).
  Restrictions on speech in a nonpublic forum pass muster so long as they are "reasonable and are
  not an effort to suppress expression merely because public officials oppose the speaker's view."
  Comelius,473 U.S. at 800(cleaned up and citation omitted). These restrictions "'need not be the
  most reasonable or the only reasonable limitation' to be constitutionally permissible." Ball. 870
  F.3d at 730(quoting United States v. Kokinda. 497 U.S. 720. 730(199011.

  Because the nature ofthe fomm prescribes the level of constitutional protection, this Court must
  consider whether the sidewalk outside the Lawrence Coimty Campus is a public or nonpublic
  forum. Public streets and sidewalks "occupy a special position in terms of First Amendment
  protection because of their historic role as sites for discussion and debate." McCullen v. Coaklev.
  573 U.S.464. 476(20141 (cleaned up and citation omitted). Public sidewalks are critical to the
  "exchange ofideas" because they provide access to people who might otherwise ignore the
  speaker's message. Id. Some sidewalks present easy questions concerning their forum status. In
  Grace,for instance, the Supreme Court held that the sidewalks "comprising the outer boundaries"
  ofthe Supreme Court grounds were a public foram. 461 U.S. at 179. These sidewalks were
  "indistinguishable from any other sidewalks in Washington, B.C.," and there was "no separation.

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  no fence, and no indication whatever to persons stepping from the street to the curb and
  sidewalks that serve as the perimeter ofthe Court grounds that they have entered some special
  type of enclave." Id. As such, the Supreme Court saw "no reason why [these sidewalks] should
  be treated any differently" than traditional sidewalks, which are "considered, generally without
  further inquiry, to be public forum property." Id. at 179.

  A public sidewalk running along Center, Sherman, and Pine streets surrounds the Lawrence
  Covmty Campus. The petition circulator for Dakotans for Health was standing on a public
  sidewalk in front of the Aimex building when a woman who appeared to be a county employee
  approached her with the Policy on June 12, 2023, directing her to move to the designated area in
  the plaza area. If the Policy in fact is read to place off-limits petition circulation on public
  sidewalks, then Defendants appear to be restricting First Amendment activity in a public forum.

  Because the sidewalk outside of the Annex building appears to be a public forum,the policy to
  be constitutional must be "narrowly tailored to serve a significant governmental interest" and
  "leave open ample alternative charmels for communication ofthe information." Ward.491 U.S.
  at 791 (cleaned up and citation omitted). The "narrow tailoring requirement means not only that
  the regulation must promote a substantial government interest that would be achieved less
  effectively absent the regulation, but also that the factual situation demonstrates a real need for
  the government to act to protect its interests." Johnson v. Minneanolis Park & Recreation Bd..
  729 F.3d 1094. 1099(8th Cir. 2013)(cleaned up and citations omitted). The protected interest
  caimot be abstract, and instead "there must be a genuine nexus between the regulation and the
  interest it seeks to serve." Id.


  The Supreme Court made clear in McCullen v. Coaklev that the "government still may not
  regulate expression in such manner that a substantial portion ofthe burden on speech does not
  serve to advance its goals." 573 U.S. at 486(cleaned up and citation omitted). McCullen
  involved a Massachusetts statute that prohibited people from knowingly standing on a public
  walkway or sidewalk within 35 feet of an entrance or driveway to an abortion clinic. Id. at 469.
  The plaintiffs were anti-abortion advocates who engaged in "sidewalk counseling" by offering
  women approaching the clinics information about alternatives to abortion and trying to dissuade
  them from terminating their pregnancies. Id. at 472-73. The plaintiffs' sidewalk counseling
  strategy involved quiet, individualized conversations with the women,as they believed this
  approach was far more effective than more confrontational methods like yelling or waiving
  signs. Id. at 473. The plaintiffs claimed that the Massachusetts statute's creation of buffer zones
  aroxmd the clinics significantly hindered their ability to pass out literature and engage in face-to-
  face conversations. Id. at 474.


  The Supreme Court held that the statute was not narrowly tailored because it burdened
  substantially more speech than was necessary to further Massachusetts' legitimate interest in
  "public safety, patient access to healthcare, and the unobstructed use of public sidewalks." Id. at
  486. The statute's main failure, the Court explained, was its significant burden on the plaintiffs'
  sidewalk counseling:

  [T]he buffer zones impose serious burdens on petitioners' speech. At each ofthe three Planned
  Parenthood clinics where petitioners attempt to counsel patients, the zones carve out a significant

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  portion ofthe adjacent public sidewalks, pushing petitioners well back from the clinics' entrances
  and driveways. The zones thereby compromise petitioners' ability to initiate the close, personal
  conversations that they deem essential to "sidewalk counseling."

  Id. at 487. These buffer zones likewise "made it substantially more difficult for petitioners to
  distribute literature to arriving patients." Id. at 488. The Court rejected Massachusetts' attempt to
  downplay these burdens, explaining that the government "imposes an especially significant First
  Amendment burden" when it frustrates methods of communication like leafleting and personal
  conversations. Id. at 489.

  As for the narrowly tailored analysis, the Court concluded that Massachusetts "too readily
  for[went] options that could have" accomplished its interests without substantially burdening the
  plaintiffs' speech. Id. at 490. The Court noted multiple less burdensome alternatives, including
  another statute that already criminalized much ofthe conduct Massachusetts sought to prevent,
  statutes from other jurisdictions, and the enforcement of existing local ordinances. Id. at 490-94.
  It was "not enough," the Court explained, that the buffer zones would have made it easier to
  accomplish the state's goals. Id. at 495. Rather, the state needed to "demonstrate that alternative
  measures that burdened substantially less speech would fail to achieve the government's
  interests." Id.; see also id.("A painted line on the sidewalk is easy to enforce, but the prime
  objective of the First Amendment is not efficiency").

  "In the context of petition campaigns,[the Supreme Court has] observed that 'one-on-one
  communication' is 'the most effective, fundamental, and perhaps economical avenue of political
  discourse.'" McCullen. 573 U.S. at 488(quoting Mever v. Grant. 486 U.S. 414.424 ("1988)1.
  "When the government makes it more difficult to engage in [this] mode of communication, it
  imposes an especially significant First Amendment burden." Id. at 489. Defendants' Policy
  appears to hamstring the Plaintiffs' chosen method of communication by requiring them to
  remain in a plaza apart from pedestrian traffic into the Lawrence County Annex building; the
  plaza is on the opposite side from what appears to be the conunon entrance to the Annex
  building and a petition circulator would have to call out to those passing on sidewalks. See id.
  ("It is easier to ignore a strained voice or a waiving hand than a direct greeting or an outstretched
  arm.").

  Requiring petition circulators to remain in the designated areas also burdens substantially more
  speech than necessary to achieve Defendants' interests expressed in the Policy's justification.
  This Court only has the language ofthe Policy itself—^that is, "to preserve public safety and
  provide citizens the opportunity to conduct business without unnecessary disruption or
  inconvenience"—^to understand the justification for the Policy. Preserving public safety and
  allowing citizens to conduct business with the county without unnecessary disruption or
  inconvenience are worthy and strong governmental interests. These justifications, however, do
  not explain in any meaningful way why petition circulators must be taken off a public sidewalk
  and placed in a plaza area away from pedestrian traffic. There appears to be ample space in and
  along the public sidewalks around the building and main County Campus entrance for petition
  circulators to stand without obstructing pedestrian traffic into or around the buildings. Indeed,
  there even appears to be a bench for people to sit and a cigarette disposal container immediately
  outside the Aimex building entrance. If diere is room for people to sit and smoke on the public

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  sidewalk right next to the most used entrance to the County Annex building. Plaintiffs are likely
  to succeed on the merits oftheir claim that there is ample room for exercising fundamental First
  Amendment rights in that space, too. The other portions of the Policy may address the
  Defendants' concern without imposing a significant burden on Plaintiffs' method of
  communication. In short, if the Defendants' Policy was meant to put the public sidewalks off
  limits to petition circulators and confine them to the plaza area, it does not appear to be
  sufficiently narrowly tailored to withstand a constitutional challenge.

  B. The threat of irreparable harm to the movant
  "Irreparable harm occurs when a party has no adequate remedy at law, typically because its
  injuries cannot be fully compensated through an award of damages." Gen. Motors Corp. v. Harrv
  Brown's. LLC.563 F.3d 312. 319(8th Cir. 2009). "In order to demonstrate irreparable harm, a
  party must show that the harm is certain and great and of such imminence that there is a clear
  and present need for equitable relief." Novus Franchising. Inc. v. Dawson.725 F.3d 885. 895 CSth
  Cir. 2013)(citation omitted). The irreparable nature ofthe harm stemming from First
  Amendment violations is well-recognized. Powell v. Noble. 798 F.3d 690. 702(8th Cir. 2015^
 (quoting Marcus v. Pub. Television. 97 F.3d 1137. 1140 rsth Cat.        ("If[the Plaintiffs] are
 correct and their First Amendment rights have been violated, this constitutes an irreparable
  harm."(citation omitted)).

  Unlike in Anderson, Plaintiffs here challenge a policy that has been in place for more than three
  years. "Without question,'[a] long delay by plaintiff after learning ofthe threatened harm ... may
  be taken as an indication that the harm would not be serious enough to justify a preliminary
  injunction.'" Adventist Health Svstem/SunBelt. Inc. v. U.S. Dept. of Health & Human Servs , 17
  F.4th 793. 805 (8th Cir. 202U (quoting Wright & Miller, llAFed. Prac. & Proc., § 2948.1 &
  n.l3(3d ed. 2013)). Because of the delay. Plaintiffs here may have to clear a hiudle that was not
  present in Anderson, where the lawsuit was brought mere days after the challenged policy went
  into effect. On the other hand,the Bothamley Declaration shows Plaintiffs suffered a harm as
  recently June 12, 2023, Doc. 5, and perhaps that was the first time the policy has been enforced
  directly to the detriment ofPlaintiffs. This case presents a closer call on irreparable harm than in
  Anderson. Because "the loss of First Amendment freedoms,for even minimal periods oftime,
  unquestionably constitutes irreparable injury," this factor weighs somewhat in favor oftemporary
  and immediate relief. Elrod v. Bums.427 U.S. 347. 373(19761.


  C. The balance of equities between the parties
  Plaintiffs have demonstrated that as recently as June 12,2023,they have suffered what appears
  to be action imdermining their fundamental First Amendment rights. Plaintiffs do not appear to
  challenge the "Code of Conduct" portion ofthe policy, nor in all likelihood could they, so
  restraining enforcement of the designated area portion ofthe policy is unlikely to harm
  Defendants. That is, even ifPlaintiffs are allowed to conduct their activities outside ofthe
  currently designated area, the requirements that they do so politely and without interfering with
  ingress or egress ofany person to or from a Coimty building should protect Defendants from


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  harm in the interim. The balance of equities or balance of harms analysis seems to favor
  Plaintiffs.


  D. Whether an injunction is in the public interest
  "When the ... government or agency is the defendant, the fmal two factors [i.e. the balance of
  equities between the parties and whether an injunction is in the public interest] can 'merge'into
  one." Noem v. Haaland. 542 F. Supp. 3d 898.925 fP.S.D. 20211(cleaned up and citation
  omitted); see also Nken v. Holder. 556 U.S. 418. 435(20091 (stating the same)."The public
  interest generally is served by allowing the free exercise of First Amendment rights." Blue State
  Refugees v. Noem,No. 3:21-CV-3024-RAL,2021 WL 5150358, at *4(D.S.D. Nov. 5,2021).
  The public has an interest to enter and leave county buildings without undue traffic flow
  problems that petition circulators might create. Especially given the Policy's Code of Conduct,
  there is nothing to suggest that pedestrian traffic flow is, has, or could be a serious issue here if
  Plaintiffs are allowed to exercise their First Amendment rights elsewhere from the public
  sidewalks and notjust from the designated area on the outdoor plaza.

  E.Bond

  Under Rule 65(c), a temporary restraining order should issue "only if the movant gives security
  in an amount that the court considers proper to pay the costs and damages sustained by any party
  found to have been wrongfully enjoined or restrained." A temporary restraining order as sought
  by Plaintiffs does not cause Defendants to incur "costs and damages" apart from the costs of
  defending this suit generally, which do not increase through entry of a temporary restraining
  order. The bond requirement may properly be waived in public interest litigation.
  RichlandAVilkin Joint Powers Auth. v. U.S. Armv Corns of Ene'rs, 826 F.3d 1030. 1043 ('8th Cir.
  2018V


  IV. Conclusion and Order

  For the reasons explained, it is

  ORDERED that Plaintiffs' Motion for Temporary Restraining Order with Notice, Doc. 2, is
  granted to the limited extent that Defendants may not enforce or threaten to enforce the portion
  ofthe Lawrence County Political Activity Policy that restricts petition circulation to the
  designated area in the plaza area located between the Lawrence Coimty Administrative Annex
  building and the Lawrence County Courthouse. Defendants may otherwise enforce provisions of
  the Policy. It is further

  ORDERED that the parties cooperate with this Court to set an evidentiary hearing on the motion
  for preliminary injunction. It is further

  ORDERED that this order shall remain in place for no more than 14 days and that the parties
  cooperate in setting a preliminary injimction hearing at the earliest possible time before this
  Court. It is finally

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  ORDERED that the bond requirement is waived.

  ni The case was reassigned to the undersigned judge yesterday.

  [21 Defendants' Policy appears to be content-neutral. Of course:

  Content-based laws—^those that target speech based on its communicative content—are presumptively
  unconstitutional and may be justified only if the government proves that they are narrowly tailored to serve
  compelling state interests. Courts will apply a strict scrutiny analysis when the regulation discriminates on the basis
  of content, and a more lenient analysis to content-neutral regulations.

  Josephine Havlak Photographer.Inc. v. Vill. of Twin Oaks. 864 F.3d 905. 913-14(8th Cir. 20171(cleaned up and
  citations omitted).




                                               135 S.Ct. 2218(2015)

                                     Clyde REED, et al., Petitioners
                                                            V.

                                TOWN OF GILBERT, ARIZONA, et al.

                                                      No. 13-502.

                                       Supreme Court of United States.

                                             Argued January 12, 2015.
                                              Decided June 18, 2015.

  2223*2223 David A. Coltman, Lawrenceville, GA,for Petitioners.

  2224*2224 Eric J. Feigin, Washington, DC,for the United States as amicus curiae, by special
  ieave of the Court, supporting neither party.

  Phiiip W. Savrin, Atlanta, GA,for Respondents.

  Kevin H. Theriot, Jeremy D. Tedesco, Alliance Defending Freedom, Scottsdale, AZ, David
  A. Cortman, Counsel of Record, Rory T. Gray, Alliance Defending Freedom, Lawrenceville,
  GA,for Petitioner.

  Philip W. Savrin, Counsel of Record, Dana K. Maine, William H. Buechner, Jr., Freeman
  Mathis & Gary, LLP, Atlanta, GA,for Respondents.

  Justice THOMAS delivered the opinion of the Court.

  The town of Gilbert, Arizona (or Town), has adopted a comprehensive code governing the
  manner in which people may display outdoor signs. Gilbert, Ariz., Land Development Code
 (Sign Code or Code), ch. 1,§ 4.402 (2005).i!i The Sign Code identifies various categories of

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  signs based on the type of information they convey, then subjects each category to different
  restrictions. One of the categories is "Temporary Directional Signs Relating to a Qualifying
  Event," loosely defined as signs directing the public to a meeting of a nonprofit group. §
  4.402(P). The Code imposes more stringent restrictions on these signs than it does on
  signs conveying other messages. We hold that these provisions are content-based
  regulations of speech that cannot survive strict scrutiny.




  The Sign Code prohibits the display of outdoor signs anywhere within the Town without a
  permit, but it then exempts 23 categories of signs from that requirement. These exemptions
  include everything from bazaar signs to flying banners. Three categories of exempt signs
  are particularly relevant here.

  The first is "Ideological Sign[s]." This category includes any "sign communicating a
  message or ideas for noncommercial purposes that is not a Construction Sign, Directional
  Sign, Temporary Directional Sign Relating to a Qualifying Event, Political Sign, Garage Sale
  Sign, or a sign owned or required by a governmental agency." Sign Code, Glossary of
  General Terms (Glossary), p. 23(emphasis deleted). Qf the three categories discussed
  here, the Code treats ideological signs most favorably, allowing them to be up to 20 square
  feet in area and to be placed in all "zoning districts" without time limits. § 4.402(J).

  The second category is "Political Sign[s]." This includes any "temporary sign designed to
  influence the outcome of an election called by a public body." Glossary 23.^ The Code
  treats these signs less favorably than ideological signs. The Code allows the placement of
  political signs up to 16 square feet on residential property and up to 32 square feet on non-
  residential property, undeveloped municipal property, and "rights-of-way." 2225*2225 §
  4.402(l).i2i These signs may be displayed up to 60 days before a primary election and up to
  15 days following a general election. Ibid.

  The third category is "Temporary Directional Signs Relating to a Qualifying Event." This
  includes any "Temporary Sign intended to direct pedestrians, motorists, and other
  passersby to a 'qualifying event.'" Glossary 25(emphasis deieted). A "qualifying event" is
  defined as any "assembly, gathering, activity, or meeting sponsored, arranged, or promoted
  by a religious, charitable, community service, educational, or other similar non-profit
  organization." Ibid. The Code treats temporary directional signs even less favorably than
  political signs.iii Temporary directional signs may be no larger than six square feet. §
  4.402(P). They may be placed on private property or on a public right-of-way, but no more
  than four signs may be placed on a single property at any time. Ibid. And, they may be
  displayed no more than 12 hours before the "qualifying event" and no more than 1 hour
  afterward. Ibid.




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  Petitioners Good News Community Church (Church)and its pastor, Clyde Reed, wish to
  advertise the time and location of their Sunday church services. The Church is a small,
  cash-strapped entity that owns no building, so it holds Its services at elementary schools or
  other locations in or near the Town. In order to Inform the public about its services, which
  are held in a variety of different locations, the Church began placing 15 to 20 temporary
  signs around the Town,frequently in the public right-of-way abutting the street. The signs
  typically displayed the Church's name, along with the time and location of the upcoming
  service. Church members would post the signs early in the day on Saturday and then
  remove them around midday on Sunday. The display of these signs requires little money
  and manpower, and thus has proved to be an economical and effective way for the Church
  to let the community know where Its services are being held each week.

  This practice caught the attention of the Town's Sign Code compliance manager, who twice
  cited the Church for violating the Code. The first citation noted that the Church exceeded
  the time limits for displaying its temporary directional signs. The second citation referred to
  the same problem, along with the Church's failure to include the date of the event on the
  signs. Town officials even confiscated one of the Church's signs, which Reed had to retrieve
  from the municipal offices.

  Reed contacted the Sign Code Compliance Department in an attempt to reach an
  accommodation. His efforts proved unsuccessful. The Town's Code compliance manager
  informed the Church that there 2226*2226 would be "no leniency under the Code" and
  promised to punish any future violations.

  Shortly thereafter, petitioners filed a complaint in the United States District Court for the
  District of Arizona, arguing that the Sign Code abridged their freedom of speech in violation
  of the First and Fourteenth Amendments. The District Court denied the petitioners' motion
  for a preliminary injunction. The Court of Appeals for the Ninth Circuit affirmed, holding that
  the Sign Code's provision regulating temporary directional signs did not regulate speech on
  the basis of content. 587 F.3d 966, 979(2009). It reasoned that, even though an
  enforcement officer would have to read the sign to determine what provisions of the Sign
  Code applied to it, the "'kind of cursory examination'" that would be necessary for an officer
  to classify it as a temporary directional sign was "not akin to an officer synthesizing the
  expressive content of the sign." Id., at 978. It then remanded for the District Court to
  determine in the first instance whether the Sign Code's distinctions among temporary
  directional signs, political signs, and ideological signs nevertheless constituted a content-
  based regulation of speech.

  On remand, the District Court granted summary judgment in favor of the Town. The Court of
  Appeals again affirmed, holding that the Code's sign categories were content neutral. The
  court concluded that "the distinctions between Temporary Directional Signs, Ideological
  Signs, and Political Signs ... are based on objective factors relevant to Gilbert's creation of
  the specific exemption from the permit requirement and do not otherwise consider the
  substance of the sign." 707 F.3d 1057, 1069(C.A.9 2013). Relying on this Court's decision
  in Hill V. Colorado. 530 U.S. 703. 120 S.Ct. 2480. 147 L.Ed.2d 597(2000). the Court of
  Appeals concluded that the Sign Code is content neutral. 707 F.3d, at 1071-1072. As the
  court explained, "Gilbert did not adopt its regulation of speech because it disagreed with the
  message conveyed" and its "interests in regulat[ing] temporary signs are unrelated to the

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  content of the sign." Ibid. Accordingly, the court believed that the Code was "contentneutral
  as that term [has been] defined by the Supreme Court." Id., at 1071. In light of that
  determination, it applied a lower level of scrutiny to the Sign Code and concluded that the
  law did not violate the First Amendment. Id., at 1073-1076.

  We granted certiorari, 573 U.S.      ., 134 S.Ct. 2900, 189 L.Ed.2d 854(2014), and now
  reverse.




  The First Amendment, applicable to the States through the Fourteenth Amendment,
  prohibits the enactment of laws "abridging the freedom of speech." U.S. Const., Amdt. 1.
  Under that Clause, a government, including a municipal government vested with state
  authority, "has no power to restrict expression because of its message, its ideas, its subject
  matter, or its content." Police Dept. of Chicago v. Moslev. 408 U.S. 92, 95, 92 S.Ct. 2286, 33
  L.Ed.2d 212 (1972). Content-based laws—those that target speech based on its
  communicative content—are presumptively unconstitutional and may be justified only if the
  government proves that they are narrowly tailored to serve compelling state
  interests. R.A.V. v. St. Paul, 505 U.S. 377, 395, 112 S.Ct. 2538, 120 L.Ed.2d 305
  (1992): Simon & Schuster. Inc. v. Members of N.Y. State Crime Victims Bd., 502 U.S. 105
  115, 118, 112 S.Ct. 501, 116 L.Ed.2d 476(1991

  2227*2227 Government regulation of speech is content based if a law applies to particular
  speech because of the topic discussed or the idea or message expressed. E.g., Sorreli v.
  IMS Health. Inc.. 564 U.S.       ,    -      , 131 S.Ct. 2653, 2663-2664. 180 L.Ed.2d 544
  (2011): Carevv. Brown. 447 U.S. 455. 462, 100 S.Ct. 2286, 65 L.Ed.2d 263(1980
  supra, at 95, 92 S.Ct. 2286. This commonsense meaning of the phrase "content based"
  requires a court to consider whether a regulation of speech "on its face" draws distinctions
  based on the message a speaker conveys. Sorreli. supra, at       , 131 S.Ct., at 2664. Some
  facial distinctions based on a message are obvious, defining regulated speech by particular
  subject matter, and others are more subtle, defining regulated speech by its function or
  purpose. Both are distinctions drawn based on the message a speaker conveys, and,
  therefore, are subject to strict scrutiny.

  Our precedents have also recognized a separate and additional category of laws that,
  though facially content neutral, will be considered content-based regulations of speech:
  laws that cannot be "'justified without reference to the content of the regulated speech,'" or
  that were adopted by the government "because of disagreement with the message [the
  speech] conveys," Ward v. Rock Against Racism. 491 U.S. 781, 791.109 S.Ct. 2746, 105
  L.Ed.2d 661 (1989). Those laws, like those that are content based on their face, must also
  satisfy strict scrutiny.




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  The Town's Sign Code is content based on its face. It defines "Temporary Directional Signs"
  on the basis of whether a sign conveys the message of directing the public to church or
  some other "qualifying event." Glossary 25. It defines "Political Signs" on the basis of
  whether a sign's message is "designed to influence the outcome of an election." Id., at 24.
  And it defines "Ideological Signs" on the basis of whether a sign "communicat[es] a
  message or ideas" that do not fit within the Code's other categories. Id., at 23. It then
  subjects each of these categories to different restrictions.

  The restrictions in the Sign Code that apply to any given sign thus depend entirely on the
  communicative content of the sign. If a sign informs its reader of the time and place a book
  club will discuss John Locke's Two Treatises of Government, that sign will be treated
  differently from a sign expressing the view that one should vote for one of Locke's followers
  in an upcoming election, and both signs will be treated differently from a sign expressing an
  ideological view rooted in Locke's theory of government. More to the point, the Church's
  signs inviting people to attend its worship services are treated differently from signs
  conveying other types of ideas. On its face, the Sign Code is a content-based regulation of
  speech. We thus have no need to consider the government's justifications or purposes for
  enacting the Code to determine whether it is subject to strict scrutiny.



  In reaching the contrary conclusion, the Court of Appeals offered several theories to explain
  why the Town's Sign Code should be deemed content neutral. None is persuasive.



  The Court of Appeals first determined that the Sign Code was content neutral because the
  Town "did not adopt its regulation of speech [based on] disagree[ment] with the message
  conveyed," and its justifications for regulating temporary directional signs were "unrelated to
  the content of the sign." 707 F.3d, at 1071-1072. 2228*2228 In its brief to this Court, the
  United States similarly contends that a sign regulation is content neutral—even if it
  expressly draws distinctions based on the sign's communicative content—if those
  distinctions can be "'justified without reference to the content of the regulated speech.'"
  Brief for United States as Amicus Curiae 20, 24 (quoting Ward, supra, at 791, 109 S.Ct.
  2746: emphasis deleted).

  But this analysis skips the crucial first step in the content-neutrality analysis: determining
  whether the law is content neutral on its face. A law that is content based on its face is
 subject to strict scrutiny regardless of the government's benign motive, content-neutral
 justification, or lack of "animus toward the ideas contained" in the regulated
 speech. Cincinnati v. Discovery Network. Inc., 507 U.S. 410. 429, 113 S.Ct. 1505. 123
  L.Ed.2d 99(1993). We have thus made clear that "'[i]llicit legislative intent is not the sine
  qua non of a violation of the First Amendment,'" and a party opposing the government
 "need adduce 'no evidence of an improper censorial motive.'" Simon & Schuster, supra, at
 117. 112 S.Ct. 501. Although "a content-based purpose may be sufficient in certain
 circumstances to show that a regulation is content based, it is not necessary." Turner
  Broadcasting System. Inc. v. FCC. 512 U.S. 622. 642. 114 S.Ct. 2445.129 L.Ed.2d 497

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  (1994). In other words, an innocuous justification cannot transform a facially content-based
  law into one that is content neutral.

  That Is why we have repeatedly considered whether a law is content neutral on its
  face before turning to the law's justification or purpose. See, e.g., Sorrell. supra, at
     , 131 S.Ct., at 2663-2664 (statute was content based "on its face," and there was also
  evidence of an impermissible legislative motive); United States v. Elchman. 496 U.S. 310.
  315, 110 S.Ct. 2404, 110 L.Ed.2d 287(1990)("Although the [statute] contains no explicit
  content-based limitation on the scope of prohibited conduct, it is nevertheless clear that the
  Government's asserted interest is related to the suppression of free expression"(internal
  quotation marks omitted)); Members of City Council of Los Angeles v. Taxpayers for
  Vincent. 466 U.S. 789. 804, 104 S.Ct. 2118, 80 L.Ed.2d 772(1984)("The text of the
  ordinance is neutral," and "there is not even a hint of bias or censorship in the City's
  enactment or enforcement of this ordinance"); dark v. Community for Creative Non-
   Violence. 468 U.S. 288. 293. 104 S.Ct. 3065. 82 L.Ed.2d 221 (1984)(requiring that a
  facially content-neutral ban on camping must be "justified without reference to the content of
  the regulated speech"); United States v. O'Brien. 391 U.S. 367. 375. 377. 88 S.Ct. 1673. 20
  L.Ed.2d 672(1968)(noting that the statute "on its face deals with conduct having no
  connection with speech," but examining whether the "the governmental interest is unrelated
  to the suppression of free expression"). Because strict scrutiny applies either when a law is
  content based on its face or when the purpose and justification for the law are content
  based, a court must evaluate each question before it concludes that the law is content
  neutral and thus subject to a lower level of scrutiny.

  The Court of Appeals and the United States misunderstand our decision in Ward as
  suggesting that a government's purpose is relevant even when a law is content based on its
  face. That is incorrect. Ward had nothing to say about facially content-based restrictions
  because it involved a facially content-neufra/ ban on the use, in a city-owned music venue,
  of sound amplification systems not provided by the city. 491 U.S., at 787. and n. 2, 109
  S.Ct. 2746. In that context, we looked to 2229*2229 governmental motive, including whether
  the government had regulated speech "because of disagreement" with its message, and
  whether the regulation was "'justified without reference to the content of the speech.'" Id., at
  791, 109 S.Ct. 2746. But Ward's framework "applies only if a statute is content
  neutral." Hill. 530 U.S.. at 766. 120 S.Ct. 2480(KENNEDY. J.. dissenting). Its rules thus
  operate "to protect speech," not "to restrict it." Id., at 765, 120 S.Ct. 2460.

  The First Amendment requires no less. Innocent motives do not eliminate the danger of
  censorship presented by a facially content-based statute, as future government officials
  may one day wield such statutes to suppress disfavored speech. That is why the First
  Amendment expressly targets the operation of the laws—I.e., the "abridg[ement] of
  speech"—rather than merely the motives of those who enacted them. U.S. Const., Amdt. 1.
  "'The vice of content-based legislation ... is not that it is always used for invidious, thought-
  control purposes, but that it lends itself to use for those purposes.'" Hill, supra, at 743. 120


  For instance, in NAACPv. Button. 371 U.S. 415. 83 S.Ct. 328. 9 L.Ed.2d 405(1963), the
  Court encountered a State's attempt to use a statute prohibiting "'improper solicitation'." by
  attorneys to out-law litigation-related speech of the National Association for the

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  Advancement of Colored People. Id., at 438,83 S.Ct. 328. Although Button predated our
  more recent formulations of strict scrutiny, the Court rightly rejected the State's claim that its
  interest in the "regulation of professional conduct" rendered the statute consistent with the
  First Amendment, observing that "it is no answer... to say... that the purpose of these
  regulations was merely to insure high professional standards and not to curtail free
  expression." Id., at 438-439, 83 S.Ct. 328. Likewise, one could easily imagine a Sign Code
  compliance manager who disliked the Church's substantive teachings deploying the Sign
  Code to make it more difficult for the Church to inform the public of the location of its
  services. Accordingly, we have repeatedly "rejected the argument that 'discriminatory ...
  treatment is suspect under the First Amendment only when the legislature intends to
  suppress certain ideas.'" Discovery Network, 507 U.S.. at 429, 113 S.Ct. 1505. We do so
  again today.




  The Court of Appeals next reasoned that the Sign Code was content neutral because it
  "does not mention any idea or viewpoint, let alone single one out for differential treatment."
  587 F.3d, at 977. It reasoned that, for the purpose of the Code provisions, "[i]t makes no
  difference which candidate is supported, who sponsors the event, or what ideological
  perspective is asserted." 707 F.3d, at 1069.

  The Town seizes on this reasoning, insisting that "content based" is a term of art that
  "should be applied flexibly" with the goal of protecting "viewpoints and ideas from
  government censorship or favoritism." Brief for Respondents 22. In the Town's view, a sign
  regulation that "does not censor or favor particular viewpoints or ideas" cannot be content
  based. Ibid. The Sign Code allegedly passes this test because its treatment of temporary
  directional signs does not raise any concerns that the government is "endorsing or
  suppressing 'ideas or viewpoints,"' id., at 27, and the provisions for political signs and
  ideological signs "are neutral as to particular ideas or viewpoints" within those
  categories. Id., at 37.

  This analysis conflates two distinct but related limitations that the
  First 2230*2230 Amendment places on government regulation of speech. Government
  discrimination among viewpoints—or the regulation of speech based on "the specific
  motivating ideology or the opinion or perspective of the speaker"—is a "more blatant" and
  "egregious form of content discrimination." Rosenberaer v. Rector and Visitors of Univ. of
  Va.. 515 U.S. 819. 829, 115 S.Ct. 2510. 132 L.Ed.2d 700 (19951. But it is well established
  that "[t]he First Amendment's hostility to content-based regulation extends not only to
  restrictions on particular viewpoints, but also to prohibition of public discussion of an entire
  topic." Consolidated Edison Co. ofN.Y. v. Public Serv. Comm'n ofN.Y, 447 U.S. 530, 537.
  100 S.Ct. 2326.65 L.Ed.2d 319 (1980).

  Thus, a speech regulation targeted at specific subject matter is content based even if it
  does not discriminate among viewpoints within that subject matter, ibid. For example, a law
  banning the use of sound trucks for political speech—and only political speech—^would be a
  content-based regulation, even if it imposed no limits on the political viewpoints that could
  be expressed. See Discovery Network, supra, at 428. 113 S.Ct. 1505. The Town's Sign
  Code likewise singles out specific subject matter for differential treatment, even if it does not

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  target viewpoints within that subject matter. Ideologicai messages are given more favorable
  treatment than messages conceming a political candidate, which are themselves given
  more favorable treatment than messages announcing an assembly of like-minded
  individuals. That is a paradigmatic example of content-based discrimination.




  Finally, the Court of Appeals characterized the Sign Code's distinctions as turning on "The
  content-neutral elements of who is speaking through the sign and whether and when an
  event is occurring.'" 707 F.3d, at 1069. That analysis is mistaken on both factual and legal
  grounds.

  To start, the Sign Code's distinctions are not speaker based. The restrictions for political,
  ideological, and temporary event signs apply equally no matter who sponsors them. If a
  local business, for example, sought to put up signs advertising the Church's meetings,
  those signs would be subject to the same limitations as such signs placed by the Church.
  And if Reed had decided to display signs in support of a particular candidate, he could have
  made those signs far larger—and kept them up for far longer—^than signs inviting people to
  attend his church services, if the Code's distinctions were truly speaker based, both types of
  signs would receive the same treatment.

 In any case, the fact that a distinction is speaker based does not, as the Court of Appeals
 seemed to believe, automatically render the distinction content neutral. Because "[sjpeech
 restrictions based on the identity of the speaker are all too often simply a means to control
  content," Citizens United v. Federal Election Comm'n. 558 U.S. 310. 340. 130 S.Ct. 876.
  175 L.Ed.2d 753(2010), we have insisted that "laws favoring some speakers over others
  demand strict scrutiny when the legislature's speaker preference reflects a content
  preference," Turner, 512 U.S., at 658, 114 S.Ct. 2445. Thus, a law limiting the content of
  newspapers, but only newspapers, could not evade strict scrutiny simply because it could
  be characterized as speaker based. Likewise, a content-based law that restricted the
  political speech of all corporations would not become content neutral just because it singled
 out corporations as a class of speakers. See Citizens United, supra, at 340-341. 130 S.Ct.
 876. Characterizing a distinction 2231*2231 as speaker based is only the beginning—not the
 end—of the inquiry.

  Nor do the Sign Code's distinctions hinge on "whether and when an event is occurring." The
 Code does not permit citizens to post signs on any topic whatsoever within a set period
 leading up to an election, for example. Instead, come election time, it requires Town officials
 to determine whether a sign is "designed to influence the outcome of an election"(and thus
 "political") or merely "communicating a message or ideas for noncommercial purposes"
 (and thus "ideological"). Glossary 24. That obvious content-based inquiry does not evade
 strict scrutiny review simply because an event {i.e., an election) is involved.

 And,just as with speaker-based laws, the fact that a distinction is event based does not
 render it content neutral. The Court of Appeals cited no precedent from this Court
 supporting its novel theory of an exception from the content-neutrality requirement for
 event-based laws. As we have explained, a speech regulation is content based if the law
 applies to particular speech because of the topic discussed or the idea or message
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  expressed. Supra, at 2226 - 2227. A regulation that targets a sign because it conveys an
  idea about a specific event is no less content based than a regulation that targets a sign
  because it conveys some other idea. Here, the Code singles out signs bearing a particular
  message: the time and location of a specific event. This type of ordinance may seem like a
  perfectly rational way to regulate signs, but a clear and firm rule governing content neutrality
  is an essential means of protecting the freedom of speech, even if laws that might seem
  "entirely reasonable" will sometimes be "struck down because of their content-based
  nature." City ofLadue v. Gilleo. 512 U.S. 43. 60. 114 S.Ct. 2038. 129 L.Ed.2d 36(1994)
   O'Connor. J.. concurring).




  Because the Town's Sign Code imposes content-based restrictions on speech, those
  provisions can stand only if they survive strict scrutiny, "'which requires the Government to
  prove that the restriction furthers a compelling interest and is narrowly tailored to achieve
  that interest,"" Arizona Free Enterprise Club's Freedom Club PAC v. Bennett. 564 U.S.
      . 131 S.Ct. 2806. 2817. 180 L.Ed.2d 664(2011)(quoting Citizens United, 558 U.S.. at
  340. 130 S.Ct. 876). Thus, it is the Town's burden to demonstrate that the Code's
  differentiation between temporary directional signs and other types of signs, such as
  political signs and ideological signs, furthers a compelling governmental interest and is
  narrowly tailored to that end. See ibid.

  The Town cannot do so. It has offered only two governmental interests in support of the
  distinctions the Sign Code draws: preserving the Town's aesthetic appeal and traffic safety.
  Assuming for the sake of argument that those are compelling governmental interests, the
  Code's distinctions fail as hopelessly underinclusive.

  Starting with the preservation of aesthetics, temporary directional signs are "no greater an
  eyesore," Discovery Network. 507 U.S.. at 425. 113 S.Ct. 1505. than ideological or political
  ones. Yet the Code allows unlimited proliferation of larger ideological signs while strictly
  limiting the number, size, and duration of smaller directional ones. The Town cannot claim
  that placing strict limits on temporary directional signs is necessary to beautify the Town
  while at the same time allowing unlimited numbers of other types of signs that create the
  same problem.

  2232*2232 The Town similarly has not shown that limiting temporary directional signs is
  necessary to eliminate threats to traffic safety, but that limiting other types of signs is not.
  The Town has offered no reason to believe that directional signs pose a greater threat to
  safety than do ideological or political signs. If anything, a sharply worded ideological sign
  seems more likely to distract a driver than a sign directing the public to a nearby church
  meeting.

  In light of this underinclusiveness, the Town has not met its burden to prove that its Sign
  Code is narrowly tailored to further a compelling government interest. Because a "'law
  cannot be regarded as protecting an interest of the highest order, and thus as justifying a
  restriction on truthful speech, when it leaves appreciable damage to that supposedly vital
  interest unprohibited,"' Republican Party of Minn, y. White, 536 U.S. 765. 780.122 S.Ct.
  2528. 153 L.Ed.2d 694 (2002). the Sign Code fails strict scrutiny.

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  Our decision today will not prevent governments from enacting effective sign laws. The
  Town asserts that an "'absolutist'" content-neutrality rule would render "virtually all
  distinctions in sign laws ... subject to strict scrutiny," Brief for Respondents 34-35, but that
  is not the case. Not "all distinctions" are subject to strict scrutiny, only content-based ones
  are. Laws that are content neutral are instead subject to lesser scrutinv. See Clark, 468
  U.S.. at 295. 104S.Ct. 3065.

  The Town has ample content-neutral options available to resolve problems with safety and
  aesthetics. For example, its current Code regulates many aspects of signs that have
  nothing to do with a sign's message: size, building materials, lighting, moving parts, and
  portability. See, e.g., §4.402(R). And on public property, the Town may go a long way
  toward entirely forbidding the posting of signs, so long as it does so in an evenhanded,
  content-neutral manner. See Taxpayers for Vincent, 466 U.S.. at 817. 104 S.Ct.
  2118 (upholding content-neutral ban against posting signs on public property). Indeed,
  some lower courts have long held that similar content-based sign laws receive strict
  scrutiny, but there is no evidence that towns in those jurisdictions have suffered catastrophic
  effects. See, e.g., Solantic, LLC v. Neptune Beach. 410 F.3d 1250, 1264-1269 (C.A.11
  2005)(sign categories similar to the town of Gilbert's were content based and subject to
  strict scrutiny); Matthews v. Needham, 764 F.2d 58. 59-60 (C.A.I 1985)(law banning
  political signs but not commercial signs was content based and subject to strict scrutiny).

  We acknowledge that a city might reasonably view the general regulation of signs as
  necessary because signs "take up space and may obstruct views, distract motorists,
  displace alternative uses for land, and pose other problems that legitimately call for
  regulation." CitvofLadue, 512 U.S.. at 48. 114 S.Ct. 2038. At the same time, the presence
  of certain signs may be essential, both for vehicles and pedestrians, to guide traffic or to
  Identify hazards and ensure safety. A sign ordinance narrowly tailored to the challenges of
  protecting the safety of pedestrians, drivers, and passengers—such as warning signs
  marking hazards on private property, signs directing traffic, or street numbers associated
  with private houses—^well might survive strict scrutiny. The signs at issue in this case,
  including political and ideological signs and signs for events, are far removed from those
  purposes. As discussed above, they are facially content based and are neither justified by
  traditional safety concerns nor narrowly tailored.

 ***




  2233*2233 We reverse the judgment of the Court of Appeals and remand the case for
  proceedings consistent with this opinion.

  It is so ordered.


  Justice AUTO, with whom Justice KENNEDY and Justice SOTOMAYORjoin, concurring.

  I join the opinion of the Court but add a few words of further explanation.


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  As the Court holds, what we have termed "content-based" laws must satisfy strict scrutiny.
  Content-based laws merit this protection because they present, albeit sometimes in a
  subtler form, the same dangers as laws that regulate speech based on viewpoint. Limiting
  speech based on its "topic" or "subject" favors those who do not want to disturb the status
  quo. Such regulations may interfere with democratic self-government and the search for
  truth. See Consolidated Edison Co. ofN.Y. v. Public Serv. Comm'n ofN.Y., 447 U.S. 530.
  537, 100 S.Ct. 2326, 65 L.Ed.2d 319 M980

  As the Court shows, the regulations at issue in this case are replete with content-based
  distinctions, and as a result they must satisfy strict scrutiny. This does not mean, however,
  that municipalities are powerless to enact and enforce reasonable sign regulations. I will not
  attempt to provide anything like a comprehensive list, but here are some rules that would
  not be content based:

  Rules regulating the size of signs. These rules may distinguish among signs based on any
  content-neutral criteria, including any relevant criteria listed below.

  Rules regulating the locations in which signs may be placed. These rules may distinguish
  between free-standing signs and those attached to buildings.

  Rules distinguishing between lighted and unlighted signs.

  Rules distinguishing between signs with fixed messages and electronic signs with
  messages that change.

  Rules that distinguish between the placement of signs on private and public property.

  Rules distinguishing between the placement of signs on commercial and residential
  property.

  Rules distinguishing between on-premises and off-premises signs.

  Rules restricting the total number of signs allowed per mile of roadway.

  Rules imposing time restrictions on signs advertising a one-time event. Rules of this nature
  do not discriminate based on topic or subject and are akin to rules restricting the times
  within which oral speech or music is allowed.a

  in addition to regulating signs put up by private actors, government entities may also erect
  their own signs consistent with the principles that allow governmental speech. See Pleasant
  Grove Citvv. Summum,555 U.S. 460, 467-469, 129 S.Ct. 1125. 172 L.Ed.2d 853(2009).
  They may put up ail manner of signs to promote safety, as well as directional signs and
  signs pointing out historic sites and scenic spots.

  Properly understood, today's decision will not prevent cities from regulating signs in a way
  that fully protects public 2234*2234 safety and serves legitimate esthetic objectives.

  Justice BREYER, concurring in the judgment.

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  I join Justice KAGAN's separate opinion. Like Justice KAGAN I believe that categories
  alone cannot satisfactorily resolve the legal problem before us. The First Amendment
  requires greater judicial sensitivity both to the Amendment's expressive objectives and to
  the public's legitimate need for regulation than a simple recitation of categories, such as
  "content discrimination" and "strict scrutiny," would permit. In my view, the category "content
  discrimination" is better considered in many contexts, including here, as a rule of thumb,
  rather than as an automatic "strict scrutiny" trigger, leading to almost certain legai
  condemnation.


  To use content discrimination to trigger strict scrutiny sometimes makes perfect sense.
  There are cases in which the Court has found content discrimination an unconstitutional
  method for suppressing a viewpoint. E.g., Rosenberger y. Rector and Visitors of Unlv. of
  Va.. 515 U.S. 819. 828-829,115 S.Ct. 2510, 132 LEd.2d 700 (1995): see also Boos v.
  Barry. 485 U.S. 312. 318-319. 108 S.Ct. 1157. 99 L.Ed.2d 333(1988)(plurality
  opinion)(applying strict scrutiny where the line between subject matter and viewpoint was
  not obvious). And there are cases where the Court has found content discrimination to
  reveal that rules governing a traditional public forum are, in fact, not a neutral way of fairly
  managing the forum in the interest of all speakers. Police Dept. of Chicago v. Moslev. 408
  U.S. 92. 96. 92 S.Ct. 2286, 33 L.Ed.2d 212(1972)("Once a forum is opened up to
  assembly or speaking by some groups, government may not prohibit others from
  assembling or speaking on the basis of what they intend to say"). In these types of cases,
  strict scrutiny is often appropriate, and content discrimination has thus served a useful
  purpose.


  But content discrimination, while helping courts to identify unconstitutional suppression of
  expression, cannot and should not aiways trigger strict scrutiny. To say that it is not an
  automatic "strict scrutiny" trigger is not to argue against that concept's use. I readily
  concede,for example, that content discrimination, as a conceptual tool, can sometimes
  reveal weaknesses in the government's rationale for a rule that limits speech. If, for
  example, a city looks to litter prevention as the rationale for a prohibition against placing
  newsracks dispensing free advertisements on public property, why does it exempt other
  newsracks causing similar litter? Cf. Cincinnati v. Discovery Network. Inc.. 507 U.S. 410.
  113 S.Ct. 1505, 123 L.Ed.2d 99 (1993). I also concede that, whenever government
  disfavors one kind of speech, it places that speech at a disadvantage, potentially interfering
  with the free marketplace of ideas and with an individual's ability to express thoughts and
  ideas that can help that individual determine the kind of society in which he wishes to live,
  help shape that society, and help define his place within it.

  Nonetheless, in these latter instances to use the presence of content discrimination
  automatically to trigger strict scrutiny and thereby call into play a strong presumption against
  constitutionality goes too far. That is because virtually all government activities involve
  speech, many of which involve the regulation of speech. Regulatory programs almost
  always require content discrimination. And to hold that such content discrimination triggers
  strict scrutiny is to write a recipe for judicial management of ordinary government regulatory
  activity.

  Consider a few examples of speech regulated by government that inevitably
  involve 2235*2235 content discrimination, but where a strong presumption against

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 constitutionality has no place. Consider governmental regulation of securities, e.g., 15
 U.S.C.§ 78/(requirements for content that must be included in a registration statement): of
 energy conservation labeling-practices, e.g., 42 U.S.C.§ 6294 (requirements for content
 that must be included on labels of certain consumer electronics); of prescription
 drugs, e.g., 21 U.S.C.§ 353(b)(4)(A)(requiring a prescription drug label to bear the symbol
 "Rx only"); of doctor-patient confidentiality, e.g., 38 U.S.C.§ 7332 (requiring confidentiality
 of certain medical records, but allowing a physician to disclose that the patient has HIV to
 the patient's spouse or sexual partner); of income tax statements, e.g., 26 U.S.C. § 6039F
 (requiring taxpayers to furnish information about foreign gifts received if the aggregate
 amount exceeds $10,000); of commercial airplane briefings, e.g., 14 CFR § 136.7(2015)
 (requiring pilots to ensure that each passenger has been briefed on flight procedures, such
 as seatbelt fastening); of signs at petting zoos, e.g., N.Y. Gen. Bus. Law Ann.§ 399-ff(3)
 (West Cum. Supp. 2015)(requiring petting zoos to post a sign at every exit "'strongly
 recommend[ing] that persons wash their hands upon exiting the petting zoo area'"); and so
  on.


  Nor can the majority avoid the application of strict scrutiny to ali sorts of justifiable
  governmental regulations by relying on this Court's many subcategories and exceptions to
  the rule. The Court has said, for example, that we should apply less strict standards to
  "commercial speech." Central Hudson Gas & Elec. Corp. v. Public Service Comm'n of
  N.Y.. 447 U.S. 557. 562-563, 100 S.Ct. 2343. 65 L.Ed.2d 341 (1980). But I have great
  concern that many justifiable instances of "content-based" regulation are noncommercial.
  And, worse than that, the Court has applied the heightened "strict scrutiny" standard even in
  cases where the less stringent "commerciai speech" standard was appropriate. See Sorrell
  V. IMS Health Inc.. 564 U.S.      .    .131 S.Ct. 2653. 2664.180 L.Ed.2d 544 (20111
 (BREYER, J.. dissenting). The Court has also said that "government speech" escapes First
  Amendment strictures. See Rust v. Sullivan, 500 U.S. 173. 193-194, 111 S.Ct. 1759, 114
  L.Ed.2d 233(1991). But regulated speech is typically private speech, not government
  speech. Further, the Court has said that, "[wjhen the basis for the content discrimination
  consists entirely of the very reason the entire class of speech at issue is proscribable, no
  significant danger of idea or viewpoint discrimination exists." R.A.V. v. St. Paul, 505 U.S.
  377, 388, 112 S.Ct. 2538. 120 L.Ed.2d 305(1992). But this exception accounts for only a


  I recognize that the Court could escape the problem by watering down the force of the
  presumption against constitutionaiity that "strict scrutiny" normally carries with it. But, in my
  view, doing so will weaken the First Amendment's protection in instances where "strict
  scrutiny" should apply in full force.

  The better approach is to generally treat content discrimination as a strong reason weighing
  against the constitutionality of a rule where a traditional public forum, or where viewpoint
  discrimination, is threatened, but elsewhere treat it as a rule of thumb, finding it a helpfui,
  but not determinative legal tool, in an appropriate case, to determine the strength of a
  justification. I would use content discrimination as a supplement to a more basic analysis,
  which, tracking most of our First Amendment cases, asks whether the reguiation at issue
  works harm to First Amendment interests that is disproportionate in light of 2236*2236 the
  relevant regulatory objectives. Answering this question requires examining the seriousness
  of the harm to speech, the importance of the countervailing objectives, the extent to which

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  the law will achieve those objectives, and whether there are other, less restrictive ways of
  doing so. See, e.g., United States v. Alvarez, 567 U.S.                ., 132 S.Ct. 2537,
  2551-2553, 183 L.Ed.2d 574(2012)(BREYER, J., concurring in judgment); Nixon v. Shrink
  Missouri Government PAC. 528 U.S. 377. 400-403. 120 S.Ct. 897. 145 L.Ed.2d 886(20001
 (BREYER, J.. concurrinal. Admittedly, this approach does not have the simplicity of a
 mechanical use of categories. But it does permit the government to regulate speech in
 numerous instances where the voters have authorized the government to regulate and
 where courts should hesitate to substitute judicial judgment for that of administrators.

  Here, regulation of signage along the roadside, for purposes of safety and beautification is
  at issue. There is no traditional public forum nor do I find any general effort to censor a
  particular viewpoint. Consequently, the specific regulation at issue does not warrant "strict
  scrutiny." Nonetheless, for the reasons that Justice KAGAN sets forth, I believe that the
  Town of Gilbert's regulatory rules violate the First Amendment. I consequently concur in the
  Court's judgment only.

  Justice KAGAN, with whom Justice GINSBURG and Justice BREYER join, concurring in the
  judgment.

  Countless cities and towns across America have adopted ordinances regulating the posting
  of signs, while exempting certain categories of signs based on their subject matter. For
  example, some municipalities generally prohibit illuminated signs in residential
  neighborhoods, but lift that ban for signs that identify the address of a home or the name of
  its owner or occupant. See, e.g., City of Truth or Consequences, N. M., Code of
  Ordinances, ch. 16, Art. XIII, §§11-13-2.3,11-13-2.9(H)(4)(2014). In other municipalities,
  safety signs such as "Blind Pedestrian Crossing" and "Hidden Driveway" can be posted
  without a permit, even as other permanent signs require one. See, e.g.. Code of Athens-
  Clarke County, Ga., Ft. Ill, § 7-4-7(1)(1993). Elsewhere, historic site markers—^for example,
 "George Washington Slept Here"—are also exempt from general regulations.
 See, e.g., Dover, Del., Code of Ordinances, Pt. II, App. B, Art. 5,§ 4.5(F)(2012). And
 similarly, the federal Highway Beautification Act limits signs along interstate highways
  unless, for instance, they direct travelers to "scenic and historical attractions" or advertise
  free coffee. See 23 U.S.C. §§ 131(b),(c)(1), (c)(5).

  Given the Court's analysis, many sign ordinances of that kind are now in jeopardy.
  See ante, at 2231 (acknowledging that "entirely reasonable" sign laws "will sometimes be
  struck down" under its approach (internal quotation marks omitted)). Says the majority:
  When laws "singleQ out specific subject matter," they are "facially content based"; and when
  they are facially content based, they are automatically subject to strict scrutiny. Ante, at
  2230, 2232-2233. And although the majority holds out hope that some sign laws with
  subject-matter exemptions "might survive" that stringent review, ante, at 2232 - 2233, the
  likelihood is that most will be struck down. After all, it is the "rare caseQ in which a speech
  restriction withstands strict scrutiny." Wiiliams-Yulee v. Florida Bar. 575 U.S.         135
  S.Ct. 1656. 1666        L.Ed.2d        (2015). To clear that high bar, the government must
  show that a content-based distinction "is necessary to serve a compelling state interest and
  is narrowly drawn to achieve that end." Arkansas Writers'Proiect, Inc. 2237*2237 v.
  Raaiand. 481 U.S. 221. 231. 107 S.Ct. 1722. 95 L.Ed.2d 209(19871. So on the majority's
  view, courts would have to determine that a town has a compelling interest in informing

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  passersby where George Washington slept. And likewise, courts would have to find that a
  town has no other way to prevent hidden-driveway mishaps than by specially treating
  hidden-driveway signs.(Well-placed speed bumps? Lower speed limits? Or how about just
  a ban on hidden driveways?)The consequence—unless courts water down strict scrutiny to
  something unrecognizable—is that our communities will find themselves in an unenviable
  bind: They will have to either repeal the exemptions that allow for helpful signs on streets
  and sidewalks, or else lift their sign restrictions altogether and resign themselves to the
  resulting clutter.n

  Although the majority insists that applying strict scrutiny to all such ordinances is "essential"
  to protecting First Amendment freedoms, ante, at 2231, 1 find it challenging to understand
  why that is so. This Court's decisions articulate two important and related reasons for
  subjecting content-based speech regulations to the most exacting standard of review. The
  first is "to preserve an uninhibited marketplace of ideas in which truth will ultimately
  prevail." McCulien v. Coaklev. 573 U.S.      ,            , 134 S.Ct. 2518, 2529, 189 L.Ed.2d
  502(2014)(internal quotation marks omitted). The second is to ensure that the government
  has not regulated speech "based on hostility—or favoritism—towards the underlying
  message expressed." R.A.V. v. St. Paul. 505 U.S. 377. 386. 112 S.Ct. 2538. 120 L.Ed.2d
  305(1992). Yet the subject-matter exemptions included in many sign ordinances do not
  implicate those concerns. Allowing residents, say, to install a light bulb over "name and
  address" signs but no others does not distort the marketplace of ideas. Nor does that
  different treatment give rise to an inference of impermissible government motive.

  We apply strict scrutiny to facially content-based regulations of speech, in keeping with the
  rationales just described, when there is any "realistic possibility that official suppression of
  ideas is afoot." Davenport v. Washington Ed. Assn.. 551 U.S. 177, 189, 127 S.Ct. 2372. 168
  L.Ed.2d 71 (2007)(quoting R.A.V.. 505 U.S.. at 390. 112 S.Ct. 2538). That is always the
  case when the regulation facially differentiates on the basis of viewpoint. See Rosenberaer
  V. Rector and Visitors ofUniv. of Va.. 515 U.S. 819. 829, 115 S.Ct. 2510. 132 L.Ed.2d 700
 (1995). It is also the case (except in non-public or limited public forums) when a law restricts
  "discussion of an entire topic" in public debate. Consolidated Edison Co. ofN.Y. v. Public
  Serv. Comm'n. ofN. Y.. 447 U.S. 530, 537. 539-540. 100 S.Ct. 2326. 65 L.Ed.2d 319
 (1980)(invalidating a limitation on speech about nuclear power). We have stated that "[i]f
 the marketplace of Ideas is to remain free and open, governments must not be allowed to
 choose "which issues are worth discussing or debating.'" Id., at 537-538, ICQ S.Ct. 2326
 (quoting Police Dept. of2238*2238 Chicago v. Moslev. 408 U.S. 92. 96. 92 S.Ct. 2286. 33
  L.Ed.2d 212 (1972)). And we have recognized that such subject-matter restrictions, even
  though viewpoint-neutral on their face, may "suggest[]an attempt to give one side of a
  debatable public question an advantage in expressing its views to the people." First Nat.
  Bank of Boston v. Beiiotti. 435 U.S. 765. 785. 98 S.Ct. 1407. 55 L.Ed.2d 707(1978):
  accord, ante, at 2233(ALITO, J., concurring)(limiting all speech on one topic "favors those
  who do not want to disturb the status quo"). Subject-matter regulation, in other words, may
  have the intent or effect of favoring some ideas over others. When that is realistically
  possible—^when the restriction "raises the specter that the Government may effectively drive
  certain ideas or viewpoints from the marketplace"—we insist that the law pass the most
  demanding constitutional test. RAM.505 U.S.. at 387. 112 S.Ct. 2538 (quoting Simon &
  Schuster, Inc. v. Members ofN.Y. State Crime Victims Bd., 502 U.S. 105, 116, 112 S.Ct.
  501. 116L.Ed.2d 476(1991)).


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  But when that is not realistically possible, we may do well to relax our guard so that "entirely
  reasonable" laws imperiled by strict scrutiny can survive. Ante, at 2231. This point is by no
  means new. Our concern with content-based regulation arises from the fear that the
  government will skew the public's debate of ideas—so when "that risk is inconsequential,..
  . strict scrutiny is unwarranted." Davenport, 551 U.S.. at 188,127 S.Ct. 2372:
  see R.A.V., 505 U.S.. at 388, 112 S.Ct. 2538 (approving certain content-based distinctions
  when there is "no significant danger of idea or viewpoint discrimination"). To do its intended
  work, of course, the category of content-based regulation triggering strict scrutiny must
  sweep more broadly than the actual harm; that category exists to create a buffer zone
  guaranteeing that the government cannot favor or disfavor certain viewpoints. But that
  buffer zone need not extend forever. We can administer our content-regulation doctrine with
  a dose of common sense, so as to leave standing laws that in no way implicate its intended
  function.


  And indeed we have done just that: Our cases have been far less rigid than the majority
  admits in applying strict scrutiny to facially content-based laws—including in cases just like
  this one. See Davenport, 551 U.S.. at 188, 127 S.Ct. 2372 (noting that"we have identified
  numerous situations in which [the] risk" attached to content-based laws is "attenuated").
  In Members ofCitv Council of Los Angeles v. Taxpavers for Vincent, 466 U.S. 789, 104
  S.Ct. 2118. 80 L.Ed.2d 772(1984), the Court declined to apply strict scrutiny to a municipal
  ordinance that exempted address numbers and markers commemorating "historical,
  cultural, or artistic event[s]" from a generally applicable limit on sidewalk signs. Id,, at 792,
  n. 1, 104 S.Ct. 2118 (listing exemptions): see id., at 804-810, 104 S.Ct. 2118 (upholding
  ordinance under intermediate scrutiny). After all, we explained, the law's enactment and
  enforcement revealed "not even a hint of bias or censorship." Id., at 804, 104 S.Ct. 2118;
  see also Renton v. Plavtime Theatres, Inc., 475 U.S. 41. 48,106 S.Ct. 925, 89 L.Ed.2d 29
 (1986)(applying intermediate scrutiny to a zoning law that facially distinguished among
  movie theaters based on content because it was "designed to prevent crime, protect the
  city's retail trade,[and] maintain property values .. ., not to suppress the expression of
  unpopular views"). And another decision involving a similar law provides an alternative
  model. In CitvofLadue v. Gilleo, 512 U.S. 43. 114 S.Ct. 2038. 129 L.Ed.2d 36 (19941. the
  Court assumed arguendo that a sign ordinance's exceptions for address 2239*2239 signs,
  safety signs, and for-sale signs in residential areas did not trigger strict scrutiny. See id., at
  46-47, and n. 6, 114 S.Ct. 2038 (listing exemptions); Id., at 53, 114 S.Ct. 2038 (noting this
  assumption). We did not need to, and so did not, decide the level-of-scrutiny question
  because the law's breadth made it unconstitutional under any standard.

  The majority could easily have taken Ladue's tack here. The Town of Gilbert's defense of its
  sign ordinance—most notably, the law's distinctions between directional signs and
  others—does not pass strict scrutiny, or intermediate scrutiny, or even the laugh test.
  See ante, at 2231 - 2232(discussing those distinctions). The Town, for example, provides
  no reason at all for prohibiting more than four directional signs on a property while placing
  no limits on the number of other types of signs. See Gilbert, Ariz., Land Development Code,
  ch. I, §§ 4.402(J),(P)(2)(2014). Similarly, the Town offers no coherent justification for
  restricting the size of directional signs to 6 square feet while allowing other signs to reach
  20 square feet. See §§ 4.402(J),(P)(1). The best the Town could come up with at oral
  argument was that directional signs "need to be smaller because they need to guide
  travelers along a route." Tr. of Oral Arg. 40. Why exactly a smaller sign better helps

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  travelers get to where they are going is left a mystery. The absence of any sensible basis
  for these and other distinctions dooms the Town's ordinance under even the intermediate
  scrutiny that the Court typically applies to "time, place, or manner" speech regulations.
  Accordingly, there is no need to decide in this case whether strict scrutiny applies to every
  sign ordinance in every town across this country containing a subject-matter exemption.
  I suspect this Court and others will regret the majority's insistence today on answering that
  question in the affirmative. As the years go by, courts will discover that thousands of towns
  have such ordinances, many of them "entirely reasonable." Ante, at 2231. And as the
  challenges to them mount, courts will have to invalidate one after the other.(This Court may
  soon find itself a veritable Supreme Board of Sign Review.)And courts will strike down
  those democratically enacted local laws even though no one—certainly not the
  majority—has ever explained why the vindication of First Amendment values requires that
  result. Because I see no reason why such an easy case calls for us to cast a constitutional
  pall on reasonable regulations quite unlike the law before us, I concur only in the judgment.
  11]The Town s Sign Code is available online at http://www.9llbertaz.gov/departments/devel0pment-servlce/plannlng-
  deveiopment/land-development-code (as visited June 16. 2015, and available in Clerk of Court's case file).
  12]A "Temporary Sign" Is a "sign not permanently attached to the ground, a wall or a building, and not designed or
  intended for permanent display." Glossary 25.

 ^The Code defines "RIght-of-Way" as a "strip of publicly owned land occupied by or planned for a street, utilities
  landscaping, sidewalks, trails, and similar facilities." Id., at 18.

     The Sign Code has been amended twice during the pendency of this case. When litigation began In 2007, the
  Code defined the signs at Issue as "Religious Assembly Temporary Direction Signs." App. 75. The Code entirely
  prohibited placement of those signs In the public right-of-way, and It forbade posting them In any location for more
  than two hours before the religious assembly or more than one hour afterward. Id., at 75-76. In 2008, the Town
  redefined the category as "Temporary Directional Signs Related to a Qualifying Event," and It expanded the time limit
 to 12 hours before and 1 hour after the "qualifying event." Ibid. In 2011, the Town amended the Code to authorize
 placement of temporary directional signs In the public right-of-way. Id., at 89.

 I!] Of course, content-neutral restrictions on speech are not necessarily consistent with the First Amendment. Time,
  place, and manner restrictions "must be narrowly tailored to serve the government's legitimate, content-neutral
 Interests." Ward v. Rock Against Racism, 491 U.S. 781, 798.109 S.Ct. 2746.105 L.Ed.2d 661 (19891. But they need
 not meet the high standard Imposed on viewpoint- and content-based restrictions.

 Ill Even In trying (commendably)to limit today's decision. Justice ALITO's concurrence highlights Its far-reaching
 effects. Accordlrig to Justice ALITO, the majority does not subject to strict scrutiny regulations of "signs advertising a
 one-tlrne event. Ante, at 2233(ALITO, J., concurring). But of course It does. On the majority's view, a law with an
 exception for such signs "singles out specific subject matter for differential treatment" and "defin[es] regulated speech
 by particular subject matter. Ante, at 2227, 2230(majority opinion). Indeed, the precise reason the majority applies
 strict scrutiny here Is that "the Code singles out signs bearing a particular message: the time and location of a specific
 event." Anfe, at 2231.




                                                   536 U.S. 150(2002)

     WATCHTOWER BIBLE & TRACT SOCIETY OF NEW YORK,INC., et al.
                                                                V.

                                       VILLAGE OF STRATTON et al.

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                                           No. 00-1737.

                                 United States Supreme Court.

                                    Argued February 26, 2002.
                            Decided June 17, 2002.
  CERTIORARi TO THE UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT

  152*152 152*152 Stevens, J., delivered the opinion of the Court, In which O'Connor, Kennedy,
  Souter, GInsburg, and Breyer, JJ., joined. Breyer, J., filed a concurring opinion. In which
  Souter and GInsburg, JJ., joined, post, p. 169. Scalla, J., filed an opinion concurring In the
  judgment, in which Thomas, J., joined, post, p. 171. Rehnqulst, 0. J., filed a dissenting
  opinion, post, p. 172.

  Paul D. Polidoro argued the cause for petitioners. With him on the briefs were Philip
  Brumley, Richard D. Moake, and Donald T Ridley.

  Abraham Cantor argued the cause and filed a brief for respondents.

  David M. Gormiey, State Solicitor of Ohio, argued the cause for the State of Ohio et al.
  as amid curiae In support of respondents. With him on the brief were Betty D.
  Montgomery, Attorney General of Ohio, Eiise W. Porter and Kirk A. Lindsey, Assistant
  Solicitors, and the Attorneys General for their respective States as follows: Richard
  Biumenthai of Connecticut, Steve Carter of Indiana, Thomas J. Miller of Iowa, Richard P.
  ieyoub of Louisiana, J. Joseph Curran, Jr., of Maryland, Thomas Reiiiy of
  Massachusetts, Frankie Sue Dei Papa of Nevada, W. A. Drew Edmondson of Oklahoma,
  and Hoke MacMiiian of Wyomlng.ci

  153*153 Justice Stevens, delivered the opinion of the Court.

  Petitioners contend that a village ordinance making It a misdemeanor to engage In door-to-
  door advocacy without first registering with the mayor and receiving a permit violates the
  First Amendment. Through this facial challenge, we consider the door-to-door canvassing
  regulation not only as It applies to religious proselytizing, but also to anonymous political
  speech and the distribution of handbills.




  Petitioner Watchtower Bible and Tract Society of New York, Inc., coordinates the preaching
  activities of Jehovah's Witnesses throughout the United States and publishes Bibles and
  religious periodicals that are widely distributed. Petitioner Wellsvllle, Ohio, Congregation of
  Jehovah's Witnesses, Inc., supervises the activities of approximately 59 members In a part
  of Ohio that includes the Village of Stratton (Village). Petitioners offer religious literature
  without cost to anyone Interested In reading it. They allege that they do not solicit
  contributions or orders for the sale of merchandise or services, but they do accept
  donations.




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  Petitioners brought this action against the Village and its mayor in the United States District
  Court for the Southern 154*154 District of Ohio, seeking an injunction against the
  enforcement of several sections of Ordinance No. 1998-5 regulating uninvited peddling and
  solicitation on private property in the Village. Petitioners' complaint alleged that the
  ordinance violated several constitutional rights, including the free exercise of religion, free
  speech, and the freedom of the press. App. 10a—44a. The District Court conducted a
  bench thai at which evidence of the administration of the ordinance and its effect on
  petitioners was introduced.

  Section 116.01 prohibits "canvassers" and others from "going in and upon" private
  residential property for the purpose of promoting any "cause" without first having obtained a
  permit pursuant to § 116.03.121 That section provides that any canvasser who intends to go
  on private property to promote a cause must obtain a "Solicitation Permit" from the office of
  the mayor; there is no charge for the permit, and apparently one is issued routinely after an
  applicant 155*155 fills out a fairly detailed "Solicitor's Registration Form."s The canvasser is
  then authorized to go upon premises that he listed on the registration form, but he must
  carry the permit upon his person and exhibit it whenever requested to do so by a police
  officer or by a resident.isi The ordinance 156*156 sets forth grounds for the denial or
  revocation of a permit,i2i but the record before us does not show that any application has
  been denied or that any permit has been revoked. Petitioners did not apply W a permit.
  A section of the ordinance that petitioners do not challenge establishes a procedure by
  which a resident may prohibit solicitation even by holders of permits. If the resident files a
  "No Solicitation Registration Form" with the mayor, and also posts a "No Solicitation" sign
  on his property, no uninvited canvassers may enter his property, unless they are specifically
  authorized to do so in the "No Solicitation Registration Form" itself. Only 32 of the Village's
  278 residents 157*157 filed such forms. Each of the forms in the record contains a list of 19
  suggested exceptions;!^ on one form, a resident checked 17 exceptions, thereby excluding
  only "Jehovah's Witnesses" and "Political Candidates" from the list of invited canvassers.
  Although Jehovah's Witnesses do not consider themselves to be "solicitors" because they
  make no charge for their literature or their teaching, leaders of the church testified at trial
  that they would honor "no solicitation" signs in the Village. They also explained at trial that
  they did not apply for a permit because they derive their authority to 158*158 preach from
  Scripture.21 "For us to seek a permit from a municipality to preach we feel would almost be
  an insult to God." App. 321a.

  Petitioners introduced some evidence that the ordinance was the product of the mayor's
  hostility to their ministry, but the District Court credited the mayor's testimony that it had
  been designed to protect the privacy rights of the Village residents, specifically to protect
  them "from 'film flam' con artists who prey on small town populations." 61 F. Supp. 2d 734,
  736(SD Ohio 1999). Nevertheless, the court concluded that the terms of the ordinance
  applied to the activities of petitioners as well as to "business or political canvassers," id., at
  737, 738.

  The District Court upheld most provisions of the ordinance as valid, content-neutral
  regulations that did not infringe on petitioners' First Amendment rights. The court did,
  however, require the Village to accept narrowing constructions of three provisions. First, the
  court viewed the requirement in § 116.03(b)(5) that the applicant must list the specific

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  address of each residence to be visited as potentialiy invalid, but cured by the Village's
  agreement to attach to the form a list of willing residents. Id., at 737. Second, it held that
  petitioners could comply with § 116.03(b)(6) by merely stating their purpose as "the
  Jehovah's Witness ministry." Id., at 738. And third, it held that § 116.05, which limited
  canvassing to the hours before 5 p.m., was invalid on its face and should be replaced with a
  provision referring to "reasonable hours of the day." Id., at 739. As so modified, the court
  held the ordinance constitutionally valid as applied to petitioners and dismissed the case.

  159*159 The Court of Appeals for the Sixth Circuit affirmed. 240 F. 3d 553(2001). It held that
  the ordinance was "content neutral and of general applicability and therefore subject to
  intermediate scrutiny." Id., at 560. It rejected petitioners' reliance on the discussion of laws
  affecting both the free exercise of religion and free speech in Employment Div., Dept. of
  Human Resources of Ore, v. Smith, 494 U. 8.872 (lOOOI-isJ because that "language was
  dicta and therefore not binding." 240 F. 3d, at 561. It also rejected petitioners' argument that
  the ordinance is overbroad because it impairs the right to distribute pamphlets anonymously
  that we recognized in Mclntvre v. Ohio Elections Comm'n, 514 U. 8. 334 (1995), reasoning
  that "the very act of going door-to-door requires the canvassers to reveal a portion of their
  identities." 240 F. 3d, at 563. The Court of Appeals concluded that the interests promoted by
  the Village—"protecting its residents from fraud and undue annoyance"—as well as the
  harm that it seeks to prevent—"criminals posing as canvassers in order to defraud its
  residents"—though "by no means overwhelming," were sufficient to justify the
  regulation. Id., at 565— 566. The court distinguished earlier cases protecting the Jehovah's
  Witnesses ministry because those cases either involved 16Q*160 a flat prohibition on the
  dissemination of ideas, e. g., Martin v. City of Struthers. 319 U. 8. 141 (1943). or an
  ordinance that left the issuance of a permit to the discretion of a municipal officer, see, e.
  g., Cantwellw. Connecticut. 310 U. 8. 296. 302(1940).

  In dissent. Judge Gilman expressed the opinion that by subjecting noncommerciai
  solicitation to the permit requirements, the ordinance significantly restricted a substantial
  quantity of speech unrelated to the Village's interest in eliminating fraud and unwanted
  annoyance. In his view, the Village "failed to demonstrate either the reality of the harm or
  the efficacy of the restriction." 240 F. 3d, at 572.

  We granted certiorari to decide the following question: "Does a municipal ordinance that
  requires one to obtain a permit prior to engaging in the door-to-door advocacy of a political
  cause and to display upon demand the permit, which contains one's name, violate the First
  Amendment protection accorded to anonymous pamphleteering or discourse?" 534 U. 8.
  971 (2001): Pet. for Cert, i.ia




  For over 50 years, the Court has invalidated restrictions on door-to-door canvassing and
  pamphleteering.1121 It is more than historical accident that most of these cases involved First
  Amendment challenges brought by Jehovah's Witnesses, because door-to-door canvassing
  is mandated by their religion. As we noted in Murdoch y. Pennsylyania, 161*161 319U.8.
  105. 108 (1943). the Jehovah's Witnesses "claim to follow the example of Paul, teaching
  'publickly, and from house to house.' Acts 20:20. They take literally the mandate of the
  Scriptures,'Go ye into all the world, and preach the gospel to every creature.' Mark 16:15.

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  In doing so they believe that they are obeying a commandment of God." Moreover, because
  they lack significant financial resources, the ability of the Witnesses to proselytize is
  seriously diminished by regulations that burden their efforts to canvass door-to-door.

  Although our past cases involving Jehovah's Witnesses, most of which were decided shortly
  before and during World War II, do not directly control the question we confront today, they
  provide both a historical and analytical backdrop for consideration of petitioners' First
  Amendment claim that the breadth of the Village's ordinance offends the First
  Amendment.iiiJ Those cases involved petty offenses that raised constitutional questions of
  the most serious magnitude—questions that implicated the free exercise of religion, the
  freedom of speech, and the freedom of the press. From these decisions, several themes
  emerge that guide our consideration of the ordinance at issue here.

  First, the cases emphasize the value of the speech involved. For example,
  in Murdock v. Pennsylvania, the Court noted that "hand distribution of religious tracts is an
  age-old form of missionary evangelism—as old as the history of printing presses. It has
  been a potent force in various religious movements down through the years.... This form
  of religious activity occupies the same high estate under the First Amendment as do
  worship in the churches and preaching from the pulpits. It has the same claim to protection
  as the more orthodox and conventional exercises of religion. 162*162 It also has the same
  claim as the others to the guarantees of freedom of speech and freedom of the
  press." Id., at 108-109.

  In addition, the cases discuss extensively the historical importance of door-to-door
  canvassing and pamphleteering as vehicles for the dissemination of ideas.
  In Schneiderw. State (Town of Irvinaton), 308 U. S. 147(1939). the petitioner was a
  Jehovah's Witness who had been convicted of canvassing without a permit based on
  evidence that she had gone from house to house offering to leave books or booklets.
  Writing for the Court, Justice Roberts stated that "pamphlets have proved most effective
  instruments in the dissemination of opinion. And perhaps the most effective way of bringing
  them to the notice of individuals is their distribution at the homes of the people. On this
  method of communication the ordinance imposes censorship, abuse of which engendered
  the struggle in England which eventuated in the establishment of the doctrine of the
  freedom of the press embodied in our Constitution. To require a censorship through license
  which makes impossible the free and unhampered distribution of pamphlets strikes at the
  very heart of the constitutional guarantees." Id., at 164(emphasis added).

  Despite the emphasis on the important role that door-todoor canvassing and
  pamphleteering has played in our constitutional tradition of free and open discussion, these
  early cases also recognized the interests a town may have in some form of regulation,
  particuiarly when the solicitation of money is invoived. In Cantwellw. Connecticut. 310 U. S.
  296 (1940), the Court held that an ordinance requiring Jehovah's Witnesses to obtain a
  license before soliciting door to door was invalid because the issuance of the license
  depended on the exercise of discretion by a city official. Our opinion recognized that "a
  State may protect its citizens from fraudulent solicitation by requiring a stranger in the
  community, before permitting him publicly to solicit funds 163*163 for any purpose, to
  establish his identity and his authority to act for the cause which he purports to
  represent." Id., at 306. Similarly, in Martin v. City of Struthers. the Court recognized crime

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  prevention as a legitimate interest served by these ordinances and noted that "burglars
  frequently pose as canvassers, either in order that they may have a pretense to discover
  whether a house is empty and hence ripe for burglary, or for the purpose of spying out the
  premises in order that they may return later." 319 U. S.. at 144. Despite recognition of these
  interests as legitimate, our precedent is clear that there must be a balance between these
  interests and the effect of the regulations on First Amendment rights. We "must'be astute
  to examine the effect of the challenged legislation' and must'weigh the circumstances and .
  .. appraise the substantiality of the reasons advanced in support of the regulation.'
 " Ibid,(quoting Schneider. 308 U. S., at 161).

  Finally, the cases demonstrate that efforts of the Jehovah's Witnesses to resist speech
  regulation have not been a struggle for their rights alone. In Martin, after cataloging the
  many groups that rely extensively upon this method of communication, the Court
  summarized that "[d]oor to door distribution of circulars is essential to the poorly financed
  causes of little people." 319 U. S.. at 144-146.

  That the Jehovah's Witnesses are not the only "little people" who face the risk of silencing
  by regulations like the Village's is exemplified by our cases involving nonreligious speech.
  See, e. g., Schaumburgv. Citizens fore Better Environment, 444 U. 8.620
  (1980): Hvnes v. Mayor and Councii ofOradeii. 425 U. 8.610
  (1976): Thomas V. Coiiins. 323 U. 8. 516 (1945). In Thomas, the issue was whether a labor
  leader could be required to obtain a permit before delivering a speech to prospective union
  members. After reviewing the Jehovah's Witnesses cases discussed above, the Court
  observed:


  164*164 "As a matter of principle a requirement of registration in order to make a public
  speech would seem generally incompatible with an exercise of the rights of free speech and
  free assembly....



  "If the exercise of the rights of free speech and free assembly cannot be made a crime, we
  do not think this can be accomplished by the device of requiring previous registration as a
  condition for exercising them and making such a condition the foundation for restraining in
  advance their exercise and for imposing a penalty for violating such a restraining order. 8o
  long as no more is involved than exercise of the rights of free speech and free assembly, it
  is immune to such a restriction. If one who solicits support for the cause of labor may be
  required to register as a condition to the exercise of his right to make a public speech, so
  may he who seeks to rally support for any social, business, religious or political cause. We
  think a requirement that one must register before he undertakes to make a public speech to
  enlist support for a lawful movement is quite incompatible with the requirements of the First
  Amendment." id., at 539-540.

  Although these World War ll-era cases provide guidance for our consideration of the
  question presented, they do not answer one preliminary issue that the parties adamantly
  dispute. That is, what standard of review ought we use in assessing the constitutionality of
  this ordinance. We find it unnecessary, however, to resolve that dispute because the


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  breadth of speech affected by the ordinance and the nature of the regulation make it clear
  that the Court of Appeals erred in upholding it.




  The Village argues that three interests are served by its ordinance: the prevention of fraud,
  the prevention of crime, 165*165 and the protection of residents' privacy. We have no
  difficulty concluding, in light of our precedent, that these are important interests that the
  Village may seek to safeguard through some form of regulation of solicitation activity. We
  must also look, however, to the amount of speech covered by the ordinance and whether
  there is an appropriate balance between the affected speech and the governmental
  interests that the ordinance purports to serve.

  The text of the Village's ordinance prohibits "canvassers" from going on private property for
  the purpose of explaining or promoting any "cause," unless they receive a permit and the
  residents visited have not opted for a "no solicitation" sign. Had this provision been
  construed to apply only to commercial activities and the solicitation of funds, arguably the
  ordinance would have been tailored to the Village's interest in protecting the privacy of its
  residents and preventing fraud. Yet, even though the Village has explained that the
  ordinance was adopted to serve those interests, it has never contended that it should be so
  narrowly interpreted. To the contrary, the Village's administration of its ordinance
  unquestionably demonstrates that the provisions apply to a significant number of
  noncommercial "canvassers" promoting a wide variety of "causes." Indeed, on the "No
  Solicitation Forms" provided to the residents, the canvassers include "Camp Fire Girls,"
  "Jehovah's Witnesses," "Political Candidates," "Trick orTreaters during Halloween Season,"
  and "Persons Affiliated with Stratton Church." The ordinance unquestionably applies, not
  only to religious causes, but to political activity as well, it would seem to extend to "residents
  casually soliciting the votes of neighbors,"^121 or ringing doorbells to enlist support for
  employing a more efficient garbage collector.

  The mere fact that the ordinance covers so much speech raises constitutional concerns. It
  is offensive—not only to 166*166 the values protected by the First Amendment, but to the
  very notion of a free society—^that in the context of everyday public discourse a citizen must
  first inform the government of her desire to speak to her neighbors and then obtain a permit
  to do so. Even if the issuance of permits by the mayor's office is a ministerial task that is
  performed promptly and at no cost to the applicant, a law requiring a permit to engage in
  such speech constitutes a dramatic departure from our national heritage and constitutional
  tradition. Three obvious examples illustrate the pernicious effect of such a permit
  requirement.

  First, as our cases involving distribution of unsigned handbills demonstrate,C2i there are a
  significant number of persons who support causes anonymously.^i^i "The decision in favor of
  anonymity may be motivated by fear of economic or official retaliation, by concern about
  social ostracism, or merely by a desire to preserve as much of one's privacy as
  possible." Mclntvre v. Ohio Elections Comm'n, 514 U. S.. at 341-342. The requirement that
  a canvasser must be identified in a permit application filed in the mayor's office and
  available for public inspection necessarily results in a surrender of that anonymity. Although
  it is true, as the Court of Appeals suggested, see 240 F. 3d, at 563, that persons who are

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  known to the resident reveal their allegiance to a group or cause when they present
  themselves at the front door to advocate an issue or to deliver a handbill, the Court of
  Appeals erred In concluding that the ordinance does not implicate anonymity interests. The
  Sixth Circuit's reasoning is undermined by lerie? our decision in Buckley v. American
  Constitutional Law Foundation, Inc., 525 U. S. 182(1999). The badge requirement that we
  invalidated in Buckley applied to petition circulators seeking signatures in face-to-face
  interactions. The fact that circulators revealed their physical identities did not foreclose our
  consideration of the circulators' interest in maintaining their anonymity. In the Village,
  strangers to the resident certainly maintain their anonymity, and the ordinance may preclude
  such persons from canvassing for unpopular causes. Such preclusion may well be justified
  In some situations—for example, by the special state interest in protecting the integrity of a
  ballot-initiative process, see ibid., or by the interest in preventing fraudulent commercial
  transactions. The Village ordinance, however, sweeps more broadly, covering unpopular
  causes unrelated to commercial transactions or to any special interest in protecting the
  electoral process.

  Second, requiring a permit as a prior condition on the exercise of the right to speak imposes
  an objective burden on some speech of citizens holding religious or patriotic views. As our
  World War ll-era cases dramatically demonstrate, there are a significant number of persons
  whose religious scruples will prevent them from applying for such a license. There are no
  doubt other patriotic citizens, who have such firm convictions about their constitutional right
  to engage in uninhibited debate in the context of door-to-door advocacy, that they would
  prefer silence to speech licensed by a petty officiai.

  Third, there is a significant amount of spontaneous speech that is effectively banned by the
  ordinance. A person who made a decision on a holiday or a weekend to take an active part
  In a political campaign could not begin to pass out handbills until after he or she obtained
 the required permit. Even a spontaneous decision to go across the street and urge a
 neighbor to vote against the mayor could not lawfully be implemented without first obtaining
 the mayor's permission. 168*166 In this respect, the regulation is analogous to the circulation
  licensing tax the Court invalidated in Grosiean v. American Press Co.. 297 U. S. 233 f1936V
 In Grosjean, while discussing the history of the Free Press Clause of the First Amendment,
 the Court stated that" [tjhe evils to be prevented were not the censorship of the press
 merely, but any action of the government by means of which it might prevent such free and
 general discussion of public matters as seems absolutely essential to prepare the people for
 an intelligent exercise of their rights as citizens.'" Id., at 249-250 (quoting 2 T. Cooley,
 Constitutional Limitations 886(8th ed. 1927)); see also Lovellw. Citv of Griffin. 303 U. S.
 444(19381.

 The breadth and unprecedented nature of this regulation does not alone render the
 ordinance invalid. Also central to our conclusion that the ordinance does not pass First
 Amendment scrutiny is that it is not tailored to the Village's stated interests. Even if the
 interest in preventing fraud could adequately support the ordinance insofar as it applies to
 commercial transactions and the solicitation of funds, that interest provides no support for
 its application to petitioners, to political campaigns, or to enlisting support for unpopular
 causes. The Village, however, argues that the ordinance is nonetheless valid because it
 serves the two additional interests of protecting the privacy of the resident and the
 prevention of crime.


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  With respect to the former, it seems clear that § 107 of the ordinance, which provides for the
  posting of"No Solicitation" signs and which is not challenged in this case, coupled with the
  resident's unquestioned right to refuse to engage in conversation with unwelcome visitors,
  provides ample protection for the unwilling listener. Schaumbura,444 U. 3.. at 639 ("[T]he
  provision permitting homeowners to bar solicitors from their property by posting [no
  solicitation] signs ... suggest[s] the availability of less intrusive and more effective
  measures to protect privacy"). The annoyance caused by an 169*169 uninvited knock on the
  front door is the same whether or not the visitor is armed with a permit.

  With respect to the latter, it seems unlikely that the absence of a permit would preclude
  criminals from knocking on doors and engaging in conversations not covered by the
  ordinance. They might, for example, ask for directions or permission to use the telephone,
  or pose as surveyers or census takers. See n. 1, supra. Or they might register under a false
  name with impunity because the ordinance contains no provision for verifying an applicant's
  identity or organizational credentials. Moreover, the Village did not assert an interest in
  crime prevention below, and there is an absence of any evidence of a special crime problem
  related to doorto-door solicitation in the record before us.

  The rhetoric used in the World War ll-era opinions that repeatedly saved petitioners'
  coreligionists from petty prosecutions reflected the Court's evaluation of the First
  Amendment freedoms that are implicated in this case. The value judgment that then
  motivated a united democratic people fighting to defend those very freedoms from
  totalitarian attack is unchanged. It motivates our decision today.

  The judgment of the Court of Appeals is reversed, and the case is remanded for further
  proceedings consistent with this opinion.

  It Is so ordered.


  Justice Breyer, with whom Justice Souter and Justice Ginsburg join, concurring.

  While joining the Court's opinion, I write separately to note that the dissent's "crime
  prevention" justification for this ordinance is not a strong one. Cf. post, at 176-180 (opinion
  of Rehnquist, C. J.). For one thing, there is no indication that the legislative body that
  passed the ordinance considered this justification. Stratton did not rely on the rationale in
  the courts below, see 61 F. Supp. 2d 734, 736(SD Ohio 1999)(opinion of the District Court
  describing the 170*170 ordinance as "constructed to protect the Village residents from 'flim
  flam' con artists"); 240 F. 3d 553, 565(CA6 2001)(opinion of the Court of Appeals
  describing interests as "protecting [the Village's] residents from fraud and undue
  annoyance"), and its general references to "deter[ing] crime" in its brief to this Court cannot
  fairly be construed to include anything other than the fraud it discusses specifically. Brief for
  Respondents 14-18.

  In the intermediate scrutiny context, the Court ordinarily does not supply reasons the
  legislative body has not given. Cf. United States v. Playboy Entertainment Group, Inc., 529
  U. S. 803. 816(2000)("When the Government restricts speech, the Government bears the
  burden of proving the constitutionality of its actions"(emphasis added)). That does not
  mean, as The Chief Justice suggests, that only a government with a "battery of

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  constitutional lawyers," post, at 172, could satisfy this burden. It does mean that we expect
  a government to give its real reasons for passing an ordinance. Legislators, in even the
  smallest town, are perfectly able to do so—sometimes better on their own than with too
  many lawyers, e. g., a "battery," trying to offer their advice. I can only conclude that if the
  viliage of Stratton thought preventing burglaries and violent crimes was an important
  justification for this ordinance, it would have said so.

  But it is not just that, it is also intuitively implausible to think that Stratton's ordinance serves
  any governmental interest in preventing such crimes. As the Court notes, several categories
  of potential criminals will remain entirely untouched by the ordinance. Ante, at 168-169, 154,
  n. 1. And as to those who might be affected by it, "[w]e have never accepted mere
  conjecture as adequate to carry a First Amendment burden," Nixon v. Shrink Missoun
  Government PAC, 528 U. S. 377. 392(2000). Even less readily should we accept such
  implausible conjecture offered not by the party itself but only by an amicus, see Brief for
  Ohio et al. as Amid Curiae 5-6.

  171*171 Because Stratton did not rely on the crime prevention justification, because Stratton
  has not now "present[ed] more than anecdote and supposition," Plavbov Entertainment
  Group, supra, at 822. and because the relationship between the interest and the ordinance
  is doubtful, I am unwilling to assume that these conjectured benefits outweigh the cost of
  abridging the speech covered by the ordinance.

  Justice Scalia, with whom Justice Thomas joins, concurring in the judgment.

  I concur in the judgment, for many but not all of the reasons set forth in the opinion for the
 Court. I do not agree, for example, that one of the causes of the invalidity of Stratton's
 ordinance is that some peopie have a religious objection to applying for a permit, and others
 (posited by the Court)"have such firm convictions about their constitutional right to engage
 in uninhibited debate in the context of doorto-door advocacy, that they would prefer silence
  to speech licensed by a petty official." Ante, at 167.

  If a licensing requirement is otherwise lawful, it is in my view not invalidated by the fact that
  some people will choose, for religious reasons, to forgo speech rather than observe it. That
  would convert an invalid free-exercise claim, see                   Div., Dept. of Human
  Resources of Ore, v. Smith. 494 U. S. 872(1990). into a valid free-speech claim—and a
  more destructive one at that. Whereas the free-exercise claim, if acknowledged, would
  merely exempt Jehovah's Witnesses from the licensing requirement, the free-speech claim
  exempts everybody, thanks to Jehovah's Witnesses.

  As for the Court's fairytale category of "patriotic citizens," ante, at 167, who would rather be
  silenced than licensed in a manner that the Constitution (but for their "patriotic" objection)
  would permit: If our free-speech jurisprudence is to be determined by the predicted behavior
  of such crackpots, we are in a sorry state indeed.

  172*172 Chief Justice Rehnquist, dissenting.

  Stratton is a viliage of 278 peopie iocated along the Ohio River where the borders of Ohio,
  West Virginia, and Pennsylvania converge. It is strung out along a muitiiane highway

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  connecting it with the cities of East Liverpool to the north and Steubenvilie and Weirton,
  West Virginia, to the south. One may doubt how much legal help a village of this size has
  available in drafting an ordinance such as the present one, but even if it had availed itself of
  a battery of constitutional lawyers, they would have been of little use in the town's effort. For
  the Court today ignores the cases on which those lawyers would have relied, and comes up
  with newly fashioned doctrine. This doctrine contravenes weiiestabiished precedent,
  renders local governments largely impotent to address the very real safety threat that
  canvassers pose, and may actually result in less of the door-to-door communication that it
  seeks to protect.

  More than half a century ago we recognized that canvassers,"whether selling pots or
  distributing leaflets, may lessen the peaceful enjoyment of a home," and that "burglars
  frequently pose as canvassers, either in order that they may have a pretense to discover
  whether a house is empty and hence ripe for burglary, or for the purpose of spying out the
  premises in order that they may return later." Martin v. City of Struthers, 319U.S. 141.144
  (1943). These problems continue to be associated with door-to-door canvassing, as are
  even graver ones.

  A recent double murder in Hanover, New Hampshire, a town of approximately 7,500 that
  would appear tranquil to most Americans but would probably seem like a bustling town of
  Dartmouth College students to Stratton residents, illustrates these dangers. Two teenagers
  murdered a married couple of Dartmouth College professors, Half and Susanne Zantop, in
  the Zantops' home. Investigators have concluded, based on the confession of one of the
  teenagers, that the teenagers went door-to-door intent on stealing 173*173 access numbers
  to bank debit cards and then killing their owners. See Dartmouth Professors Called Random
  Targets, Washington Post, Feb. 20, 2002, p. A2. Their modus operandi        to tell residents
  that they were conducting an environmental survey for school. They canvassed a few
  homes where no one answered. At another, the resident did not allow them in to conduct
  the "survey." They were allowed into the Zantop home. After conducting the phony
  environmental survey, they stabbed the Zantops to death. See ibid.

  In order to reduce these very grave risks associated with canvassing, the 278 "'little people,'
  " ante, at 163, of Stratton, who, unlike petitioners, do not have a team of attorneys at their
  ready disposal, see Jehovah's Witnesses May Make High Court History Again, Legal Times,
  Feb. 25, 2002, p. 1 (noting that petitioners have a team of 12 lawyers in their New York
  headquarters), enacted the ordinance at issue here. The residents did not prohibit door-to-
  door communication; they simply required that canvassers obtain a permit before going
  door-to-door. And the village does not have the discretion to reject an applicant who
  completes the application.

  The town had little reason to suspect that the negligible burden of having to obtain a permit
  runs afoul of the First Amendment. For over 60 years, we have categorically stated that a
  permit requirement for door-to-door canvassers, which gives no discretion to the issuing
  authority, is constitutional. The District Court and Court of Appeals, relying on our cases,
  upheld the ordinance. The Court today, however, abruptly changes course and invalidates
  the ordinance.




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  The Court speaks of the "historical and anaiyticai backdrop for consideration of petitioners'
  First Amendment claim," ante, at 161. But this "backdrop" is one of longstanding and
  unwavering approval of a permit requirement like Stratton's. Our early decisions in this area
  expressly 174*174 sanction a law that merely requires a canvasser to register.
  In Cantwellw. Connecticut. 310 U. S. 296. 306 (19401. we stated that "[w]ithout doubt a
  State may protect its citizens from fraudulent solicitation by requiring a stranger in the
  community, before permitting him publicly to solicit funds for any purpose, to establish his
  identity and his authority to act for the cause which he purports to represent."
  In Murdocky. Pennsylvania, 319 U. 8.105.116 (19431. we contrasted the license tax struck
  down in that case with "merely a registration ordinance calling for an identification of the
  solicitors so as to give the authorities some basis for investigating strangers coming into the
  community." And Martin, supra, at 148, states that a "city can punish those who call at a
  home in defiance of the previously expressed will of the occupant and, in addition, can by
  identification devices control the abuse of the privilege by criminals posing as canvassers."

  it is telling that Justices Douglas and Black, perhaps the two Justices in this Court's history
  most identified with an expansive view of the First Amendment, authored,
  respectively, Murdock and Martin. Their belief in the constitutionality of the permit
  requirement that the Court strikes down today demonstrates just how far the Court's present
  jurisprudence has strayed from the core concerns of the First Amendment.

  We reaffirmed our view that a discretioniess permit requirement is constitutional
  in Hvnes v. Mayor and Council ofOradeil. 425 U. S.610(19761. Hynes, though striking
  down a registration ordinance on vagueness grounds, noted that "the Court has consistently
  recognized a municipality's power to protect its citizens from crime and undue annoyance
  by regulating soliciting and canvassing. A narrowly drawn ordinance, that does not vest in
  municipal officials the undefined power to determine what messages residents will hear,
  may serve these important interests without running afoul of the First Amendment." Id., at
  616-617.


  175*175 The Stratton ordinance suffers from none of the defects deemed fatal in these
  earlier decisions. The ordinance does not prohibit door-to-door canvassing: it merely
  requires that canvassers fill out a form and receive a permit. Cf. Martin, supra. The mayor
  does not exercise any discretion in deciding who receives a permit; approval of the permit is
  automatic upon proper completion of the form. Cf. Cantweli. supra. And petitioners do not
  contend in this Court that the ordinance is vague. Cf. Hvnes. supra.

  Just as troubling as the Court's ignoring over 60 years of precedent is the difficulty of
  discerning from the Court's opinion what exactly it is about the Stratton ordinance that
  renders it unconstitutional. It is not clear what test the Court is applying, or under which part
  of that indeterminate test the ordinance fails. See ante, at 164 (finding it "unnecessary...
  to resolve" what standard of review applies to the ordinance). We are instead told that the
  "breadth of speech affected" and "the nature of the regulation" render the permit
  requirement unconstitutional. Ibid. Under a straightforward application of the applicable First
  Amendment framework, however, the ordinance easily passes muster.

  There is no support in our case law for applying anything more stringent than intermediate
  scrutiny to the ordinance. The ordinance is content neutral and does not bar anyone from

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  going door-to-door In Stratton. It merely regulates the manner In which one must canvass: A
  canvasser must first obtain a permit. It Is, or perhaps I should say was, settled that the
  "government may Impose reasonable restrictions on the time, place, or manner of protected
  speech, provided the restrictions 'are justified without reference to the content of the
  regulated speech, that they are narrowly tailored to serve a significant governmental
  Interest, and that they leave open ample alternative channels for communication of the
  Information.'" Ward v. Rock Against Racism. 491 U. S. 781. 791
 (1989)(quoting Clark w. Community for Creative Non-Violence. 468 U. S. 288. 293(1984^).
  Earlier 176'176 this Term, the Court reaffirmed that this test applies to content-neutral time,
  place, or manner restrictions on speech In public forums. See Thomas v. Chicaao Park
  Dist. 534 U. 8. 316 (2002).

  The Court suggests that Stratton's regulation of speech warrants greater scrutiny. Ante, at
  164. But It would be puzzling If regulations of speech taking place on another
  citizen's private property warranted greater scrutiny than regulations of speech taking place
  In public forums. Common sense and our precedent say just the opposite. In Hynes, the
  Court explained:'"Of all the methods of spreading unpopular Ideas,[house-to-house
  canvassing] seems the least entitled to extensive protection. The possibilities of persuasion
  are slight compared with the certainties of annoyance. Great as Is the value of exposing
  citizens to novel views, home Is one place where a man ought to be able to shut himself up
  In his own Ideas If he desires.'" 425 U. 8.. at 619 (quoting Z. Chafee, Free 8peech In the
  United 8tates 406 (1954)). In Ward, the Court held that Intermediate scrutiny was
  appropriate "even In a public forum," 491 U. 8.. at 791 (emphasis added), appropriately
  recognizing that speech enjoys greater protection In a public forum that has been opened to
  all citizens, see ibid. Indeed, we have held that the mere proximity of private residential
  property to a public forum permits more extensive regulation of speech taking place at the
  public forum than would otherwise be allowed. 8ee Frisbvv. Schuitz. 487 U. 8. 474. 483-
 484(1988). 8urely then. Intermediate scrutiny applies to a content-neutral regulation of
 speech that occurs not just near, but at, another citizen's private residence.

 The 8tratton regulation Is aimed at three significant governmental Interests: the prevention
 of fraud, the prevention of crime, and the protection of prlvacy.i^ The Court
 concedes 177*177 that "In light of our precedent,... these are Important Interests that
 [8tratton] may seek to safeguard through some form of regulation of solicitation
 activity." Ante, at 165. Although Initially recognizing the Important Interest In preventing
 crime, the Court later Indicates that the "absence of any evidence of a special crime
 problem related to door-todoor solicitation In the record before us" lessens this
 Interest. Ante, at 169. But the village Is entitled to rely on our assertion In Martin that door-
 to-door canvassing poses a risk of crime, see Erie v. Rao's A. M.. 529 U. 8. 277, 297
 (2000)(citing Renton v. Playtime Theatres, inc.. 475 U. 8. 41 (198611. and the experience of
 other jurisdictions with crime stemming from door-to-door canvassinq, see 529 U. 8.. at
 297; Nixon v. Shrink Missouri Government PAC. 528 U. 8. 377. 393. n. 6(20001.

 The double murder In Hanover described above Is but one tragic example of the crime
 threat posed by door-to-door canvassing. Other recent examples Include a man soliciting
 gardening jobs door-to-door who tied up and robbed elderly residents, see Van Derbken,
 98-Year-Old Latest Victim In 8erles of Home Invasions, 8an Francisco Chronicle, 8ept. 13,
 2000, p. A18, a door-to-door vacuum cleaner salesman who raped a woman, see

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  Employers Liable for Rape by Salesman, Texas Lawyer, Jan. 11,1999, p. 2, and a man
  going door-todoor purportedly on behalf of a church group who committed multiple sexual
  assaults, see Ingersoll, Sex Crime Suspect Traveled with Church Group, Wis. State
  Journal, Feb. 19, 2000, p. IB. The Constitution does not require that Stratton first endure its
  own crime wave before it takes measures to prevent crime.

  What is more, the Court soon forgets both the privacy and crime interests. It finds the
  ordinance too broad because it applies to a "significant number of noncommercial
  'canvassers.'" Ante, at 165. But noncommercial canvassers, for example, those purporting
  to conduct environmental surveys for school, see supra, at 172-173, can violate no
  trespassing 178*178 signs and engage in burglaries and violent crimes just as easily as
  commercial canvassers can. See Martin. 319 U. 8.. at 144 (canvassers,"whether selling
  pots or distributing leaflets, may lessen the peaceful enjoyment of a home" and "sp[y] out"
  homes for burglaries(emphasis added)). Stratton's ordinance is thus narrowly tailored. It
  applies to everyone who poses the risks associated with door-to-door canvassing, /. e., it
  applies to everyone who canvasses doorto-door. The Court takes what should be a virtue of
  the ordinance—that it is content neutral, cf. 44 Liauormart, Inc. v. Rhode Island, 517 U. 8.
  484, 501 (1996)("[0]ur commercial speech cases have recognized the dangers that attend
  governmental attempts to single out certain messages for suppression")—and turns it into a
  vice.


  The next question is whether the ordinance serves the important interests of protecting
  privacy and preventing fraud and crime. With respect to the interest in protecting privacy,
  the Court concludes that "[tjhe annoyance caused by an uninvited knock on the front door is
  the same whether or not the visitor is armed with a permit." Ante, at 168-169. True, but that
  misses the key point: The permit requirement results in fewer uninvited knocks. Those who
  have complied with the permit requirement are less likely to visit residences with no
  trespassing signs, as it is much easier for the authorities to track them down.

  The Court also fails to grasp how the permit requirement serves 8tratton's interest in
  preventing crime.i^ We have approved of permit requirements for those engaging in
  protected First Amendment activity because of a commonsense recognition that their
  existence both deters and helps detect wrongdoing. 8ee, e. g., Thomas v. Chicago Park
  Dist, 534 175*179 U. 8. 316(2002)(upholding a permit requirement aimed, in part, at
  preventing unlawful uses of a park and assuring financial accountability for damage caused
  by the event). And while some people, intent on committing burglaries or violent crimes, are
  not likely to be deterred by the prospect of a misdemeanor for violating the permit
  ordinance, the ordinance's effectiveness does not depend on criminals registering.

  The ordinance prevents and detects serious crime by making it a crime not to register. Take
  the Hanover double murder discussed earlier. The murderers did not achieve their objective
  until they visited their fifth home over a period of seven months. If Hanover had a permit
  requirement, the teens may have been stopped before they achieved their objective. One of
  the residents they visited may have informed the police that there were two canvassers who
  lacked a permit. Such neighborly vigilance, though perhaps foreign to those residing in
  modern day cities, is not uncommon in small towns. Or the police on their own may have
  discovered that two canvassers were violating the ordinance. Apprehension for violating the


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   permit requirement may well have frustrated the teenagers' objectives: it certainly would
   have assisted in solving the murders had the teenagers gone ahead with their plan.21
  Of course, the Stratton ordinance does not guarantee that no canvasser will ever commit a
  burglary or violent crime. The Court seems to think this dooms the ordinance, erecting an
  insurmountable hurdle that a law must provide a foolproof method of preventing crime. In
  order to survive intermediate scrutiny, however, a law need not solve the
  crime 180*180 problem, it need only further the interest in preventing crime. Some
  deterrence of serious criminal activity is more than enough to survive intermediate scrutiny.
  The final requirement of intermediate scrutiny is that a regulation leave open ample
  alternatives for expression. Undoubtedly, ample alternatives exist here. Most obviously,
  canvassers are free to go door-to-door after filling out the permit application. And those
  without permits may communicate on public sidewalks, on street corners, through the mail,
  or through the telephone.

  Intermediate scrutiny analysis thus confirms what our cases have long said: A discretionless
  permit requirement for canvassers does not violate the First Amendment. Today, the Court
  elevates its concern with what is, at most, a negligible burden on door-to-door
  communication above this established proposition. Ironically, however, today's decision may
  result in less of the door-to-door communication that the Court extols. As the Court
  recognizes, any homeowner may place a "No Solicitation" sign on his or her property, and it
  is a crime to violate that sign. Ante, at 168. In light of today's decision depriving Stratton
  residents of the degree of accountability and safety that the permit requirement provides,
  more and more residents may decide to place these signs in their yards and cut off door-to-
  door communication altogether.

  n Briefs of amid curiae urging reversal were filed for Commonwealth of the Northern Mariana Islands by Herbert D.
  Soil, Attorney General, David Coiiins, and Karen M. Kiaver;for the Center for Individual Freedom by Eric S. Jaffa;for
  the Church of Jesus Christ of Latter-day Saints by Von G. Keetch;for the Electronic Privacy Information Center et al.
  by Marc Rotenberg, Steven R. Shapiro, and Raymond Vasvari; and for Real Campaign Reform.org, Inc., et al.
  by Wiiiiam J. Olson, John S. Miles, and Herbert W. Titus.

  Briefs of amid curiae urging affirmance were filed for the Ohio Municipal League by Barry M. Byron and John E.
  Gotherman;and for the International Municipal Lawyers Association et al. by Richard Ruda and James I. Crowiey.

  Briefs of amid curiae were filed for the Brennan Center for Justice by Burt Neubome, Deborah Goldberg, and Richard
  L Hasen; and for Independent Baptist Churches of America by Thomas W. King HI.

  m Section 116.01 provides: "The practice of going In and upon private property and/or the private residences of
  village residents In the Village by canvassers, solicitors, peddlers, hawkers, itinerant merchants or transient vendors
  of merchandise or services, not having been invited to do so by the owners or occupants of such private property or
  residents, and not having first obtained a permit pursuant to Section 116.03 of this Chapter,for the purpose of
  advertising, promoting, selling and/or explaining any product, service, organization or cause, or for the purpose of
  soliciting orders for the sale of goods, wares, merchandise or services, is hereby declared to be a nuisance and is
  prohibited." App. to Brief for Respondents 2a. The Village has Interpreted the term "canvassers" to include Jehovah's
  Witnesses and the term "cause" to include their ministry. The ordinance does not appear to require a permit for a
  surveyor since such an individual would not be entering private property "for the purpose of advertising, promoting,
  selling and/or explaining any product, service, organization or cause, or for the purpose of soliciting orders for the
  sale of goods, wares, merchandise or services." Thus, contrary to the assumption of the dissent In its heavy reliance
  on the example from Dartmouth, post, at 172-173,177,179(opinion of Rehnquist, C. J.), the Village's ordinance
  would have done nothing to prevent that tragic crime.



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  12]Section 116.03 provides;

  "(a) No canvasser, solicitor, peddler, hawker, itinerant merchant or transient vendor of merchandise or services who is
  described in Section 116.01 of this Chapter and who intends to go in or upon private property or a private residence
  in the Viilage for any of the purposes described in Section 116.01, shali go in or upon such private property or
  residence without first registering in the office of the Mayor and obtaining a Solicitation Permit.

  "(b) The registration required by subsection (a) hereof shaii be made by filing a Soiicitor's Registration Form, at the
  office of the Mayor, on a form furnished for such purpose. The Form shall be completed by the Registrant and it shall
  then contain the following information:

  "(1)The name and home address of the Registrant and Registrant's residence for five years next preceding the date
  of registration;

  "(2)A brief description of the nature and purpose of the business, promotion, solicitation, organization, cause, and/or
  the goods or services offered;

  "(3) The name and address of the employer or affiliated organization, with credentials from the employer or
  organization showing the exact relationship and authority of the Applicant;

  "(4) The length of time for which the privilege to canvass or solicit is desired;

  "(5) The specific address of each private residence at which the Registrant intends to engage in the conduct
  described in Section 116.01 of this Chapter, and,

  "(6) Such other information concerning the Registrant and its business or purpose as may be reasonably necessary
  to accurately describe the nature of the privilege desired." Brief for Respondents 3a—4a.

  [3] Section 116.04 provides:"Each Registrant who complies with Section 116.03(b) shall be furnished a Solicitation
  Permit. The permit shail indicate that the applicant has registered as required by Section 116.03 of this Chapter. No
  permittee shall go in or upon any premises not listed on the Registrant's Soiicitor's Registration Form.

  "Each person shall at all times, while exercising the priviiege in the Village incident to such permit, carry upon his
  person his permit and the same shail be exhibited by such person whenever he is requested to do so by any police
  officer or by any person who is soiicited." Id., at 4a.

     Section 116.06 provides: "Permits described in Section 116.04 of this Chapter may be denied or revoked by the
  Mayor for any one or more of the foiiowing reasons:

  "(a) Incomplete information provided by the Registrant In the Solicitor's Registration Form.

  "(b) Fraud or misrepresentation contained in the Solicitor's Registration Form.

  "(c) Fraud, misrepresentation or false statements made in the course of conducting the activity.

  "(d) Violation of any of the provisions of this chapter or of other Codified Ordinances or of any State or Federal Law.

  "(e) Conducting canvassing, soliciting or business in such a manner as to constitute a trespass upon private property.

  "(f) The permittee ceases to possess the qualifications required in this chapter for the original registration." Id., at 5a.

  15] Section 116.07 provides, in part: "(a) Notwithstanding the provisions of any other Section of this Chapter 116, any
  person, firm or corporation who is the owner or lawful occupant of private property within the territorial limits of the
  Village of Stratton, Ohio, may prohibit the practice of going in or upon the private property and/or the private
  residence of such owner or occupant, by uninvited canvassers, solicitors, peddlers, hawkers, itinerant merchants or
  transient vendors, by registering its property in accordance with Subdivision (b)of this Section and by posting upon

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  each such registered property a sign which reads'No Solicitation' in a location which is reasonably visible to persons
  who intend to enter upon such property.

  "(b)The registration authorized by Subsection (a) hereof shall be made by filing a 'No Solicitation Registration Form',
  at the office of the Mayor, on a form furnished for such purpose. The form shall be completed by the property owner
  or occupant and it shall then contain the following information:...." Id., at 6a.

  16]The suggested exceptions listed on the form are:

  1. Scouting Organizations

  2. Camp Fire Girls

  3. Children's Sports Organizations

  4. Children's Solicitation for Supporting School Activities

  5. Volunteer Fire Dept.

  6. Jehovah's Witnesses


  7. Political Candidates


  8. Beauty Products Sales People

  9. Watkins Sales


  10. Christmas Carolers


  11. Parcel Delivery

  12. Little League

  13. Trick orTreaters during Halloween Season

  14. Police


  15. Campaigners

  16. Newspaper Carriers

  17. Persons Affiliated with Stratton Church


  18. Food Salesmen


  19. Salespersons. App. 229a.

  Apparently the ordinance would prohibit each of these 19 categories from canvassing unless expressly exempted.

  [71 Specifically, from the Book of "Matthew chapter 28, verses 19 and 20, which we take as our commission to
  preach.... So Jesus, by example. Instituted a house-to-house search for people so as to preach the good news to
  them. And that's the activity that Jehovah's Witnesses engage in, even as Christ's apostles did after his resurrection
  to heaven." Id., at 313a—314a.



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  [81 "The only decisions in which we have held that the First Amendment bars application of a neutral, generally
  applicable law to religiously motivated action have involved not the Free Exercise Clause alone, but the Free
  Exercise Clause in conjunction with other constitutional protections, such as freedom of speech and of the
  press, see Cantwell v. Connecticut, 310 U. S.. at 304-307 (invalidating a licensing system for religious and charitable
  solicitations under which the administrator had discretion to deny a license to any cause he deemed
  nonreiigious): Murdockv. Pennsylvania. 319 U. S. 105(1943)(invalidating a flat tax on solicitation as applied to the
  dissemination of religious ideas); Foiled v. McCormick, 321 U. S. 573(1944)(same), or the right of parents,
  acknowledged in Pierce v. Society of Sisters, 268 U. S. 510 (1925). to direct the education of their children,
  see Wisconsin v. Yoder, 406 U. S. 205(1972)(invalidating compulsory school-attendance laws as applied to Amish
  parents who refused on religious grounds to send their children to school)." 494 U. S., at 881 (footnote omitted).

  ^ In their briefs and at oral argument, the parties debated a factual issue embedded in the question presented,
  namely, whether the permit contains the speaker's name. We need not resolve this factual dispute in order to answer
  whether the ordinance's registration requirement abridges so much protected speech that it is invalid on its face.

  [101 Hynes v. Mayor and Council ofOradeii, 425 U. S. 610(1976); Martin v. City of Struthers, 319 U. S. 141
  (1943); Murdockw. Pennsylvania. 319 U. S. 105(1943); Jamison v. Texas, 318 U. S. 413
  (1943); Cantwell V. Connecticut, 310 U. S. 296(1940); Schneider v. State (Town of irvington), 308 U. S. 147
  (1939); Loveil v. City of Griffin, 303 U. S. 444(1938).


  [111 The question presented is similar to one raised, but not decided, in Hynes. The ordinance that we held invalid in
  that case on vagueness grounds required advance notice to the police before "casually soliciting the votes of
  neighbors." 425 U. S..at 620, n. 4.

  [121 Hynes, 425 U. S..at 620. n. 4.


  [131 Taiiev v. California, 362 U. S.60(1960); Mcintyre v. Ohio Elections Comm'n, 514 U. S. 334(1995).

  [141 Although the Jehovah's Witnesses do not themselves object to a loss of anonymity, they bring this facial
  challenge in part on the basis of overbreadth. We may, therefore, consider the impact of this ordinance on the free
  speech rights of individuals who are deterred from speaking because the registration provision would require them to
  forgo their right to speak anonymously. See Broadrick v. Oklahoma. 413 U. S. 601, 612(1973).

  [11 Of course,fraud itself may be a crime. I assume, as does the majority, that the interest in preventing "crime" refers
  to a separate interest in preventing burglaries and violent crimes.

  [21 It is sufficient that the ordinance serves the important Interest of protecting residents' privacy. A law need only
  serve a governmental interest. Because the Court's treatment of Stratton's interest in preventing crime gives short
  shrift to Stratton's attempt to deal with a very serious problem, I address that issue as well.

  [31 Indeed, an increased focus on apprehending criminals for "petty" offenses, such as not paying subway fares, is
  credited with the dramatic reduction in violent crimes in New York City during the last decade. See, e. g., M. Gladwell,
  The Tipping Point: How Little Things Can Make a Big Difference (2000). If this works in New York City, surely it can
  work in a small village like Stratton.




   Note: The Supremacy Clause states the following as well




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  Article VI
  All debts contracted and engagements entered into, before the adoption of this
  Constitution, shall be as valid against the United States under this Constitution, as
  under the Confederation.

  This Constitution, and the laws of the United States which shall be made In
  pursuance thereof; and all treaties made, or which shall be made, under the
  authority of the United States, shall be the supreme law of the land; and the judges
  In every state shall be bound thereby, anything in the Constitution or laws of any
  State to the contrary notwithstanding.


  The Senators and Representatives before mentioned, and the members of the
  several state legislatures, and all executive and judicial officers, both of the United
  States and of the several states, shall be bound by oath or affirmation, to support
  this Constitution; but no religious test shall ever be required as a qualification to
  any office or public trust under the United States.


  Furthermore, Exhibits of Mailboxes and a Permanent Sign are all included and
  labeled. This would be a violation of the equal protection 14"^ Amendment Violation
  as well. The 14'^ Amendment states the following.




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  Amendment XIV


  Section 1.

  Ail persons born or naturalized in the United States, and subject to the jurisdiction
  thereof, are citizens of the United States and of the state wherein they reside. No
  state shall make or enforce any law which shall abridge the privileges or immunities
  of citizens of the United States; nor shall any state deprive any person of life,
  liberty, or property, without due process of law; nor deny to any person within its
  jurisdiction the equal protection of the laws.




  Wherefore, Petitioner hereby asks this Court for a Temporary injunction
  against the First Circuit Court of South Dakota and asks this court to set
  a hearing on whether or not a further injunction shall issue.

  Dated this 24tt day of October, 2023                .

  ERIC SMITH              Q/IA
  Signature of Petitioner



  Exhibits of the activity performed/ petitioning and redressing
  government are included with this filing.




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  Note: There was a Report taken and submitted by the Yankton County
  Sheriffs department in Yankton against the City Police Department in
  regards to this incident. I recently asked them if a investigation was
  currently ongoing and they stated yes. The Court is still looking to
  proceed forward. Note: The Court and City Prosecutor are denying any
  discovery and any witnesses unless I subpoena them according to their
  policy, "However", an attorney can do anything. This is also a violation
  of Due Process and A violation under the equal protection clause of the
  Fourteenth Amendment of the United States Constitution.




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